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                             No. 22-60397


              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


                  HEALTHY GULF; SIERRA CLUB,
                          Petitioners,

                                      v.

         UNITED STATES ARMY CORPS OF ENGINEERS;
    STEPHEN MURPHY, in his official capacity as New Orleans
         District Commander, U.S. Army Corps of Engineers;
    MARTIN MAYER, in his official capacity as Chief, Regulatory
    Division, New Orleans District, U.S. Army Corps of Engineers,
                           Respondents.


                  On Petition for Review of a Permit
                 By the U.S. Army Corps of Engineers


                   BRIEF FOR RESPONDENTS


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           CERTIFICATE OF INTERESTED PERSONS

                            No. 22-60397
                         Healthy Gulf, et al.
                                 v.
                  U.S. Army Corps of Engineers, et al.

     Under Circuit Rule 28.2.1, Appellees are governmental parties

that need not furnish a certificate of interested persons.


                                       s/ Justin D. Heminger
                                       JUSTIN D. HEMINGER

                                       Counsel for Respondents




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          STATEMENT REGARDING ORAL ARGUMENT

     This petition for review concerns a Clean Water Act permit issued

by the U.S. Army Corps of Engineers for a liquefied natural gas project.

Respondents submit that oral argument would be both appropriate and

helpful to the Court in ensuring full deliberation of the issues

presented.




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                               GLOSSARY

APA              Administrative Procedure Act

EPA              U.S. Environmental Protection Agency

FERC             Federal Energy Regulatory Commission

LEDPA            Least Environmentally Damaging Practicable
                 Alternative

LNG              Liquefied Natural Gas

LRAM             Louisiana Rapid Assessment Method

NEPA             National Environmental Policy Act




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                            INTRODUCTION

     Petitioners (Healthy Gulf) challenge a Clean Water Act permit

that Respondent U.S. Army Corps of Engineers (the Corps) issued in

May 2019 to Intervenors Driftwood LNG, LLC and Driftwood Pipeline,

LLC (Driftwood). That Permit authorizes Driftwood to discharge fill

material into waters of the United States to construct a natural gas

pipeline and liquefied natural gas (LNG) terminal near Lake Charles,

Louisiana.

     The Court should deny the petition. First, the Corps thoroughly

analyzed seven project alternatives and authorized the least

environmentally damaging practicable alternative (LEDPA), as the

Clean Water Act requires. Healthy Gulf contends that the Corps did not

consider an eighth possible site for the terminal. But during the Corps’

public notice and comment period, no one suggested that site was the

LEDPA. The Federal Energy Regulatory Commission (FERC) did

consider that site and rejected it on environmental grounds. Regardless,

any error on the Corps’ part was harmless because the Corps already

had authorized another entity to develop the site in question, making it

unavailable to Driftwood.



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     Second, the Corps properly required Driftwood to provide full

compensatory mitigation for all impacts that could not be minimized or

avoided. Consistent with the Clean Water Act regulations, the Corps

exercised its expert judgment when it allowed Driftwood to mitigate

some impacts by buying “credits” from “mitigation banks” and to

mitigate other impacts by using dredged material to restore nearby

damaged coastal wetlands. Healthy Gulf raises many technical

objections to the latter mitigation, but the record shows that the Corps

considered and reasonably rejected those objections.

     The petition for review should be denied.

                  STATEMENT OF JURISDICTION

     Healthy Gulf’s claims arise under the Clean Water Act, 33 U.S.C.

§§ 1311, 1344(a), and the Administrative Procedure Act, 5 U.S.C.

§ 706(2). This Court has original jurisdiction to review the Driftwood

Permit under the Natural Gas Act, 15 U.S.C. § 717r(d)(1), because the

pipeline is subject to 15 U.S.C. § 717f, the LNG facility is subject to 15

U.S.C. § 717b(e), and both the pipeline and the terminal are in

Louisiana, within this Circuit, AR4.




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     The Corps issued the Permit on May 3, 2019. AR6. Healthy Gulf

filed a timely petition for review on July 19, 2022. See Sierra Club v.

U.S. Dep’t of Interior, 899 F.3d 260, 267-68 (4th Cir. 2018) (holding that

statute of limitations under 15 U.S.C. § 717r(d) is either four or six

years).

                      STATEMENT OF THE ISSUES

     1.      Whether the Corps complied with the Clean Water Act by

authorizing the least environmentally damaging practicable alternative

for Driftwood’s LNG facility.

     2.      Whether the Corps reasonably required Driftwood to

mitigate all unavoidable impacts by purchasing mitigation bank credits

and by using dredged material to restore wetlands along the Louisiana

coast.

            PERTINENT STATUTES AND REGULATIONS

     Pertinent regulations are in the Addendum.

                          STATEMENT OF THE CASE

     A.      Statutory and regulatory background

             1.    The Natural Gas Act

     Under the Natural Gas Act, FERC has primary authority to

approve construction of natural gas pipelines and LNG terminals. 15

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U.S.C. §§ 717b(e)(1), 717f(c). FERC does so by issuing a certificate of

public convenience and necessity for pipelines and approving

applications to construct LNG terminals. Id. §§ 717b(e)(1), 717f(e).

FERC also serves as “the lead agency for the purposes of coordinating

all applicable Federal authorizations” and “for the purposes of

complying with the National Environmental Policy Act” (NEPA). Id.

§ 717n(b)(1). Other agencies, such as the Corps, examine specific issues

under the statutes that they administer and grant additional, necessary

authorizations for natural gas projects to proceed.

           2.    The Clean Water Act

     The Clean Water Act prohibits “the discharge of any pollutant”—

including spoil, sand, and rock—without a permit into “navigable

waters,” which are defined as “waters of the United States.” 33 U.S.C.

§§ 1311(a), 1362(6), 1362(7), 1362(12). Waters of the United States

include “special aquatic sites,” such as certain wetlands and mud flats.

40 C.F.R. §§ 230.3(m), 230.41, 230.42.

     Section 404 of the Clean Water Act authorizes the Corps to issue

permits for discharges of “dredged or fill material” into waters of the

United States. 33 U.S.C. § 1344(a). The Corps reviews permit



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applications to ensure compliance with statutorily mandated

regulations known as the “Section 404(b)(1) Guidelines,” codified at

40 C.F.R. Part 230, and the Corps’ permit regulations at 33 C.F.R. Parts

320–332. See 33 U.S.C. § 1344(b)(1).

     The Guidelines specify that no discharge will be permitted if it

will cause significant degradation of waters of the United States. 40

C.F.R. § 230.10(c). The Corps’ goal is “no overall net loss to wetlands,”

and it achieves that goal through a three-step mitigation framework by

(1) avoiding impacts, (2) minimizing impacts, and (3) compensating for

impacts that cannot be avoided or minimized. Memorandums of

Agreement; Clean Water Act Section 404(b)(1) Guidelines; Correction, 55

Fed. Reg. 9,210, 9,211-12 (Mar. 12, 1990). Each step is described below.

     First, as to avoidance, “no discharge of dredged or fill material

shall be permitted if there is a practicable alternative to the proposed

discharge which would have less adverse impact on the aquatic

ecosystem, so long as the alternative does not have other significant

adverse environmental consequences.” 40 C.F.R. § 230.10(a). This

requirement is often referred to as identifying the least environmentally

damaging practicable alternative (LEDPA). To be “practicable,” an



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alternative must be “available and capable of being done after taking

into consideration cost, existing technology, and logistics in light of

overall project purposes.” 40 C.F.R. § 230.10(a)(2). Thus, the avoidance

component of the framework means choosing the LEDPA. Ohio Valley

Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177, 202 (4th Cir. 2009).

When, as here, a project that is not “water dependent” would discharge

pollutants into a “special aquatic site,” the regulations presume that

practicable alternatives not involving special aquatic sites are available,

“unless clearly demonstrated otherwise.” 40 C.F.R. § 230.10(a)(3).

     Second, minimization means using “practicable project

modifications and permit conditions that minimize adverse impacts.”

Aracoma Coal, 556 F.3d at 202; see 40 C.F.R. § 230.10(d) (mandating

that the Corps require “appropriate and practicable steps” to “minimize

potential adverse impacts of the discharge on the aquatic ecosystem”).

     Third, “compensatory mitigation is used where appropriate to

compensate for unavoidable adverse impacts after all avoidance and

minimization measures have been taken.” Aracoma Coal, 556 F.3d at

202; accord 33 C.F.R. § 332.3(a)(1). The purpose of compensatory

mitigation is to replace “aquatic resource functions that will be lost as a



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result of the permitted activity.” 33 C.F.R. § 332.3(a)(1). Compensatory

mitigation can include restoring, enhancing, establishing, or preserving

special aquatic sites. Id. § 332.3(a)(2). The Corps may require

compensatory mitigation as a permit condition. Id. § 325.4(a)(3). The

types and locations of mitigation that the Corps may require are defined

by regulation. 33 C.F.R. § 332.3(b); see also Atchafalaya Basinkeeper v.

U.S. Army Corps of Engineers, 894 F.3d 692, 699-701 (5th Cir. 2018).

     Mitigation comes in three basic types. 33 C.F.R. § 332.3(b). First, a

permittee may buy mitigation from a Corps-approved “mitigation

bank,” which is a site where a sponsor restores, enhances, establishes,

or preserves wetlands or other resources to sell as compensatory

mitigation. Id. § 332.2 (“mitigation bank”). When a permittee makes a

purchase from a mitigation bank, the units of mitigation are known as

“credits.” Id. (defining “credits”). Second, a permittee may similarly

purchase credits from an “in-lieu fee program,” which is a governmental

or nonprofit entity-sponsored program to restore, establish, enhance, or

preserve mitigation sites selected in accordance with a framework plan.

Id. (defining “in-lieu fee program”); id. § 332.8(c) (describing

compensation planning frameworks for in-lieu fee programs). Third, a



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permittee may conduct a project to provide compensatory mitigation to

offset its permitted impacts. 33 C.F.R. § 332.2 (defining “permittee-

responsible mitigation”). The regulation includes a general order of

preference for mitigation options: (1) mitigation bank credits, (2) in-lieu

fee programs, and (3) permittee-responsible mitigation. Id. § 332.3(b);

id. § 332.3(g). But the Corps also has discretion to override this

preference. Id. § 332.3(b)(2).

           3.    The National Environmental Policy Act

     NEPA is a procedural statute that does not mandate substantive

results but does require agencies to consider environmental impacts.

Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989).

NEPA does not require substantive outcomes, rather it “mandates that

the agency gather, study, and disseminate information concerning the

projects’ environmental consequences.” Sabine River Auth. v. U.S. Dep’t

of Interior, 951 F.2d 669, 676 (5th Cir. 1992).

     Under NEPA, if the project involves a “major Federal action” that

would “significantly affect[] the quality of the human environment,” an

agency must prepare a detailed Environmental Impact Statement

(EIS). 42 U.S.C. § 4332(2)(C). An agency may also prepare a less



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detailed environmental assessment to comply with NEPA and to

determine whether it is necessary to prepare an EIS. 40 C.F.R.

§§ 1508.9(a)(1), (2). NEPA regulations encourage agencies to tier their

EISs and environmental assessments to eliminate repetition and focus

on the issues ripe for decision. Id. § 1502.20. 1

      B.    Factual background

            1.    The Project

      Driftwood seeks to build the Project to convert natural gas

produced in the United States into LNG for export to international

markets. AR262. The Project has two main components. AR2404. The

first component is an LNG production and export facility (the LNG

facility). AR2404. The second component (not at issue here) is a 96-mile

pipeline that will connect to existing interstate pipeline systems and

transport natural gas to the LNG facility. AR2422.




1 The Council on Environmental Quality amended its NEPA regulations

in 2020 and 2022. Update to the Regulations Implementing the
Procedural Provisions of the National Environmental Policy Act, 85 Fed.
Reg. 43,304 (July 16, 2020); National Environmental Policy Act
Implementing Regulations Revisions, 87 Fed. Reg. 23,453 (Apr. 20,
2022). This brief cites the regulations in effect in 2019, when the Corps
issued the Permit.

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     The LNG facility would be located on the west bank of the

Calcasieu River near Carlyss, Louisiana. AR18. The site provides deep

water access for LNG ships to berth, load LNG, and then return down

the Calcasieu Ship Channel to the Gulf of Mexico and then to

international markets. AR262. The facility would include five

liquefaction plants (systems that cool natural gas into liquid form)

capable of producing up to 27.6 million tons of LNG per year for global

export. AR2404. At peak production levels, about one LNG carrier

would be loaded from the facility each day. AR2404.

           2.     FERC’s authorization

     In 2016, Driftwood sought FERC approval for the Project.

AR2425. As the lead agency for this natural gas project, FERC complied

with NEPA by preparing an EIS, which included several opportunities

for public input. AR2404-19; AR2426-30. The Corps and other federal

agencies served as cooperating agencies in FERC’s development of the

EIS. AR2423-26.

     In January 2019, FERC issued the final EIS. The EIS, which

spans more than 500 pages (not including appendices), thoroughly

analyzed and disclosed the potential environmental impacts from the



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Project. AR2383-92. FERC evaluated a range of alternatives and

eliminated from detailed analysis alternatives that either were not

reasonable or practicable. AR2510-11. FERC identified six alternative

locations for the LNG facility, which it labeled Alternative Sites 1

through 6. AR2519-24. FERC concluded that Alternative Site 6 “did not

provide a significant environmental advantage to Driftwood’s proposed

site” and thus eliminated it from further evaluation. AR2524.

     In April 2019, FERC approved Driftwood’s Project. AR558. No one

sought judicial review of FERC’s approval order.

           3.    Driftwood’s Clean Water Act permit
                 application

     In March 2017, Driftwood submitted a formal joint application to

the Corps for a Clean Water Act Section 404 permit and to the

Louisiana Department of Natural Resources, Office of Coastal

Management, for a Coastal Use permit. AR23286-87.

     Driftwood needed a Section 404 permit from the Corps because

the Project would involve the discharge of dredged or fill material into

waters of the United States. Driftwood’s proposed location for the LNG

facility was a 790-acre property on the west bank of the Calcasieu

River. AR257-258. Driftwood’s plans for construction and operation


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would cover about 718 acres of the site and result in the permanent loss

of 319.3 acres of wetlands. AR257-58.

     Driftwood also sought a state Coastal Use permit to allow it to

beneficially use dredged material. To construct an adequate marine

berth for LNG ships, Driftwood needed to dredge and dispose of up to

8.25 million cubic yards of material to create the marine berths where

ships would load LNG. AR296-97. Under Louisiana law, a party that

planned to dredge more than 25,000 cubic yards within the Louisiana

Coastal Zone must either put that material to beneficial use or make a

voluntary contribution to a coastal resources fund. AR411-412.

Meanwhile, under the Clean Water Act, Driftwood needed to provide

compensatory mitigation for the unavoidable, permanent loss of coastal

wetlands. AR299.

     To meet both obligations, Driftwood proposed to put the dredged

material to beneficial use (the Beneficial Use Plan). Instead of simply

disposing of the dredged material at an onshore disposal site, Driftwood

proposed to use the dredged material in a beneficial and cost-effective

manner to restore and protect marsh and other habitat along the

Louisiana coast. AR476. Driftwood identified ten areas several miles



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southwest of the LNG facility (the Beneficial Use Areas). AR474. Over

the past several decades, the Beneficial Use Areas had slowly degraded,

and what was once healthy coastal marsh had deteriorated and

disappeared. AR476. Driftwood’s Plan would restore and create

emergent wetlands, estuarine intertidal wetlands, and scrub or shrub

wetlands. AR478.

           4.   The Corps’ Permit

     From 2017 to 2019, the Corps evaluated Driftwood’s request for a

Section 404 permit. In March 2018, the Corps issued a Joint Public

Notice soliciting public comment on behalf of itself and the Louisiana

Department of Natural Resources. AR4776-82. Several parties,

including Petitioner Healthy Gulf (then known as Gulf Restoration

Network) submitted comments, which the Corps considered. AR263-76.

During the public comment period, no commenter suggested that

FERC’s Alternative Site 6 was the LEDPA or otherwise suggested that

the Corps should consider this alternative.




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     In December 2018, Driftwood submitted three final mitigation

documents. 2 The first is the Wetland Mitigation Plan, which describes

the compensatory mitigation that Driftwood must provide. AR405-470.

Driftwood also submitted the final Beneficial Use Plan, AR471-551,

which provides a detailed technical explanation of “where and how”

Driftwood would use dredged material to restore and protect degraded

coastal marsh habitats. AR297, AR299. Under the Beneficial Use Plan,

Driftwood would place up to 8.25 million cubic yards of dredged

material several miles southwest of the LNG facility in up to ten areas.

AR259. Those ten areas are located within the Louisiana Coastal Zone.

AR2683. The Beneficial Use Plan calls for restoring about 496.4 acres of

saline marsh and 149.4 acres of fresh marsh (about 650 acres in total).

AR300. In the long term, the Beneficial Use Plan seeks restoration and

creation of up to 3,009 acres of coastal marsh habitat from future

maintenance dredge cycles. AR300. The third mitigation document that

Driftwood submitted is a Beneficial Use Implementation Plan, which




2 The mitigation documents are incorporated into the final Permit. See

33 C.F.R. §§ 332.3(k), 332.4(c); AR11

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outlined a schedule to eliminate delay between Project construction and

implementation of the Beneficial Use Plan. AR14-21.

     In May 2019, the Corps finalized a 66-page Memorandum for the

Record documenting its Clean Water Act and NEPA review. AR256-322.

The Memorandum included an Environmental Assessment, which

incorporated by reference specific sections of FERC’s EIS. AR256. The

Memorandum also documented the Corps’ evaluation of Driftwood’s

permit application under the 404(b)(1) Guidelines. AR256.

     The Corps prepared a detailed alternatives analysis in which it

examined the “no action” alternative, Driftwood’s proposed location for

the LNG facility, and six alternative locations. AR277-86. The Corps

concluded that Driftwood’s proposed location was the least

environmentally damaging practicable alternative (LEDPA). AR286-87.

Like FERC, the Corps labeled the alternatives that it studied

Alternative Sites 1 through 6, but only some of those alternatives

corresponded to the alternatives that FERC studied in the EIS. In

particular, Driftwood’s permit application to the Corps did not include




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the site that FERC labeled Alternative Site 6, and the Corps did not

discuss that alternative in its analysis. 3

      The Corps also considered compensatory mitigation options.

AR299-302. To ensure that Driftwood compensated for all impacts, the

Corps used the Louisiana Rapid Assessment Method (LRAM), a tool for

assessing and calculating wetlands impacts. AR259, AR265, AR300-301.

Based on the LRAM calculations, the Corps concluded that all impacts

would be mitigated through a combination of credits and the Beneficial

Use Plan. AR300.

      The Corps confirmed that Driftwood would purchase mitigation

credits from mitigation banks to offset 134.3 acres of wetland impacts

associated with the LNG facility. AR300. And the Corps approved

Driftwood’s Beneficial Use Plan to mitigate the remaining 185 acres of

wetland impacts associated with the LNG facility. AR300. The Corps

concluded that the Beneficial Use Plan, under which Driftwood would

initially restore 650 acres of degraded fresh and saltwater coastal


3 In its permit application to the Corps, Driftwood identified six

alternative sites, including one labeled “Alternative Site 6.” AR6526-32;
AR281-82 (Pelican Island site). Later, FERC termed that same
alternative in the EIS as Alternative Site 4. AR2524 (Pelican Island
site).

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marsh habitat, with potential to restore up to 3,009 acres of such

habitats through maintenance dredging cycles, was “expected to

outweigh the traditional mitigation bank credit program for impacts to

estuarine, palustrine emergent, and palustrine scrub-shrub wetland

communities.” AR299.

     Based on the detailed analysis in the Memorandum, the Corps

concluded that Driftwood’s Project complied with the 404(b)(1)

Guidelines under the Clean Water Act. AR322. Thus, in May 2019, the

Corps issued the Permit to Driftwood. AR4-21. The Corps included

thirty-six special conditions in the Permit, including many designed to

protect the environment. AR7-13. The conditions include detailed

requirements for Driftwood to complete and maintain the Beneficial

Use Plan. AR11-12.

     More than three years later, Healthy Gulf petitioned for review of

the Permit.




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                       SUMMARY OF ARGUMENT

     1.    The Corps chose the least environmentally damaging

practicable alternative (LEDPA). Healthy Gulf’s argument to the

contrary is not supported by the record, the Clean Water Act, or its

implementing regulations.

     a.    The Corps complied with the 404(b)(1) Guidelines by

preparing an independent alternatives analysis. After examining six

alternative locations and the no action alternative, the Corps concluded

that Driftwood’s proposed location for the LNG facility was the LEDPA.

Rather than pointing to any flaw in the Corps’ independent analysis,

Healthy Gulf focuses on an eighth location that the Corps did not

address (FERC’s Alternative Site 6).

     b.    Healthy Gulf contends that the Corps should have

considered FERC’s Alternative Site 6 as the LEDPA, but the Corps

correctly permitted Driftwood’s proposed location as the LEDPA. First,

Healthy Gulf faults the Corps for not explicitly discussing FERC’s

Alternative Site 6 in its decision, but no party timely raised Alternative

Site 6 (as the LEDPA or otherwise) when the Corps solicited public

comment on Driftwood’s joint permit application. If someone had done



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so, the Corps undoubtedly would have explained that Alternative Site 6

was unavailable because the Corps had issued a different permit to a

different entity for that same location. Second, and relatedly, the

petition should be denied because Healthy Gulf has failed to show

prejudice from the Corps’ failure to address FERC’s Alternative Site 6

in its decision. Alternative Site 6 was not practicable because it was

unavailable. In 2015, the Corps had issued a Section 404 permit to

another entity to develop most of Alternative Site 6 for a different

project. Because the Corps had issued an unexpired permit for

conflicting activities, Alternative Site 6 was not available for

Driftwood’s LNG facility, and any error by the Corps is harmless.

     2.    The Corps correctly ensured that Driftwood fully mitigated

all impacts associated with the LNG facility that could not be

minimized or avoided.

     a.    The Corps reasonably approved of Driftwood’s use of

mitigation bank credits and the Beneficial Use Plan. Healthy Gulf

claims that the Corps is bound by a rigid hierarchy of mitigation

options, so the Corps should have required Driftwood to use only

mitigation bank credits instead of a combination of credits plus



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restoring up to 3,009 acres of marshes. That claim misinterprets the

plain language of the compensatory mitigation regulations. The

regulations do establish a hierarchy with a preference for mitigation

bank credits over permittee-responsible mitigation. But those same

regulations also give the Corps discretion to depart from that preference

when a particular mitigation option would be environmentally

preferable, as is the case here. The Corps reasonably concluded that

having Driftwood restore at least 650 acres (and up to 3,009 acres) of

degraded coastal marshes was environmentally preferable to having

Driftwood purchase mitigation credits equivalent to 185 acres. The

Corps thoroughly vetted the Beneficial Use Plan, and other federal and

state agencies also provided input on the Plan. The Corps’ conclusion

reflects its expert judgment and is supported by the record.

     b.    Healthy Gulf raises a host of technical objections to the

Beneficial Use Plan, but the record shows that the Corps addressed

those objections. The Corps included special conditions in the Permit to

ensure that Driftwood successfully implements the Beneficial Use Plan.

The Court should defer to the Corps’ reasoned resolution of the narrow,

technical concerns that Healthy Gulf raises.



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     3.    If the Court finds a flaw in the Corps’ decision that is more

than harmless error, it should remand the Permit to the Corps without

vacatur. The Corps can readily and lawfully reach the same decision by

supplying more explanation, either as to alternatives or mitigation. And

vacating the Permit would be highly disruptive to the Corps and

Driftwood, in no small part because the Corps issued the Permit more

than three years before Healthy Gulf filed this petition for review.

                       STANDARD OF REVIEW

     The Court reviews the Corps’ decision to issue a Clean Water Act

permit under the standard in the Administrative Procedure Act (APA).

See Buttrey v. United States, 690 F.2d 1170, 1183 (5th Cir. 1982). Under

that deferential standard, courts may set aside agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

     In applying this “highly deferential” standard, Sabine River Auth.,

951 F.2d at 678, “a court is not to substitute its judgment for that of the

agency,” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 513 (2009).

Instead, it “must consider whether the decision was based on a

consideration of the relevant factors and whether there has been a clear



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error of judgment.” Marsh v. Oregon Nat. Res. Council, 490 U.S. 360,

378 (1989). Even when the agency’s decision is “of less than ideal

clarity,” the Court should uphold it “if the agency’s path may reasonably

be discerned.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983). The Court “must look at the decision not as

the chemist, biologist or statistician that [it is] qualified neither by

training nor experience to be, but as a reviewing court exercising [its]

narrowly defined duty of holding agencies to certain minimal standards

of rationality.” City of Shoreacres v. Waterworth, 420 F.3d 440, 445 (5th

Cir. 2005) (cleaned up).

      The APA requires that “due account shall be taken of the rule of

prejudicial error.” 5 U.S.C. § 706. Under that standard, agency action

cannot be held unlawful or set aside on account of any error unless the

challenger shows that it was harmed by that error. See Little Sisters of

the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367,

2385 (2020).




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                              ARGUMENT

I.   The Corps selected the least environmentally
     damaging practicable alternative.

     The Corps complied with the Clean Water Act by permitting the

least environmentally damaging practicable alternative (LEDPA) for

the LNG facility. Healthy Gulf does not contend that any of the six

alternatives that the Corps did evaluate is both practicable and less

environmentally damaging when compared to Driftwood’s proposed

location. Healthy Gulf Brief 35-48. Rather, Healthy Gulf asserts that

the Corps failed to prove that another site identified by FERC

(Alternative Site 6) was not the LEDPA. Id. Although the Corps did not

address that eighth site in its decision, no one raised this issue to the

Corps during its public comment period. In any event, the fact that the

Corps did not explain that Alternative Site 6 was not the LEDPA is at

most harmless error because the Corps had issued a permit to another

entity for a conflicting activity in that location and thus it was

unavailable.




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     A.    The Corps conducted a robust alternatives
           analysis before approving Driftwood’s proposed
           location for the terminal.

     The Corps prepared an extensive alternatives analysis to evaluate

Driftwood’s permit application. Distorting the record, Healthy Gulf

inaccurately asserts that the Corps simply deferred to FERC’s EIS.

Healthy Gulf Brief 42. The Corps incorporated and relied on specific

sections of the EIS, but it also did its own alternatives analysis. AR256,

AR277-286. Based on that analysis, the Corps rationally concluded that

Driftwood’s proposed location for the terminal was the least

environmentally damaging practicable alternative—the LEDPA.

     Before granting Driftwood’s permit, the Corps prepared a 66-page

Memorandum to meet its obligations under both NEPA and the Clean

Water Act. AR256-322. The Corps explained that it had to evaluate a

reasonable range of alternatives under NEPA. AR277. The Corps also

had to comply with the Section 404(b)(1) Guidelines for Clean Water

Act, which required the Corps to ensure that it permitted the LEDPA.

AR277.

     The Corps did a detailed analysis of alternatives for the terminal

and the pipeline. AR277-286. For the terminal—the portion of the



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Project that Healthy Gulf challenges—the Corps evaluated the no

action alternative (that is, not building the terminal) and six alternative

locations, on top of Driftwood’s preferred site. AR277-286. The Corps

eliminated the no action alternative because it did not meet the purpose

and need for the Project, which was to meet growing international

demand for U.S. natural gas by exporting LNG. AR285. And the Corps

explained why none of the six alternative sites was the LEDPA when

compared to Driftwood’s preferred location. AR277-286. The Corps

found that alternatives 1, 2, 4, and 5 were impracticable based on a

combination of factors, including current land uses, limited available

land, inability to complete contractual negotiations within the Project’s

schedule commitments, and safety concerns. AR279-280, AR281,

AR286. And the Corps found that alternatives 3 and 6 would both result

in greater environmental impacts compared to Driftwood’s preferred

location for the terminal. AR280-282, AR286. The Corps therefore

concluded that Driftwood’s preferred location was the LEDPA. AR286-

287.

       Healthy Gulf does not contend that any of the six alternatives that

the Corps considered is both practicable and less environmentally



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damaging. Healthy Gulf Brief 35-48. Instead, Healthy Gulf focuses on

an eighth potential site that the Corps did not discuss (which FERC

labeled Alternative Site 6). Healthy Gulf Brief 25-26, 35-48. But its

argument about that alternative is flawed.

     B.    Healthy Gulf’s arguments about FERC’s
           Alternative Site 6 are flawed.

     Healthy Gulf asserts that the Corps violated the Clean Water Act

because it failed to show that FERC’s Alternative Site 6 was not the

LEDPA. Healthy Gulf Brief 35-48. This assertion is flawed in two ways.

           1.    No one raised Alternative Site 6 during the
                 Corps’ public notice and comment process.

     Under ordinary principles of administrative law, courts “will not

consider arguments that a party failed to raise in timely fashion before

an administrative agency.” Gulf Restoration Network v. Salazar, 683

F.3d 158, 174-75 (5th Cir. 2012) (quoting Sims v. Apfel, 530 U.S. 103,

114-15 (2000) (Breyer, J., dissenting)). The Clean Water Act requires

the Corps to provide public notice and an opportunity for comment on

404 permit applications, affording interested persons the opportunity to

raise issues with the Corps. 33 U.S.C. § 1344(a); 33 C.F.R. § 325.3(a).

And the Corps’ regulation on public notice reinforces the importance of



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timely presenting issues to the agency: “It is presumed that all

interested parties and agencies will wish to respond to public notices;

therefore, a lack of response will be interpreted as meaning that there is

no objection to the proposed project.” 33 C.F.R. § 325.3(d)(3).

     This Court recently applied administrative exhaustion principles

to its review of a 404 permit. See Shrimpers & Fishermen of the RGV v.

U.S. Army Corps of Engineers, -- F.4th --, 2023 WL 108558, at *3-4 (5th

Cir. Jan. 5, 2023). “Where, as here, parties challenge the Corps’

adequate consideration of alternatives, they must structure their

participation to alert the agency to their position in order to allow the

agency to give the issue meaningful consideration, unless a flaw is so

obvious that there is no need to point out the shortcoming.” Id. at *3

(cleaned up). “Generally, this means raising the alternative in the

comments addressed to the agency.” Id. (citation omitted).

     Exhaustion principles apply here too. In March 2018, the Corps

issued a public notice that it was considering Driftwood’s permit

application and soliciting input from the public. AR4775-4782. The

Corps received comments from two federal agencies, the Louisiana

Department of Wildlife and Fisheries, one individual, and Petitioner



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Healthy Gulf (then known as Gulf Restoration Network). AR5267.

Healthy Gulf submitted comments that generally requested an

alternatives analysis. AR5793-5794. No commenter suggested that

Alternative Site 6 was the LEDPA, or even an available alternative. Cf.

33 C.F.R. § 325.3(d)(3) (“It is presumed that all interested parties and

agencies will wish to respond to public notices; therefore, a lack of

response will be interpreted as meaning that there is no objection to the

proposed project.”); see also AR6526-32 (Driftwood’s permit application

identified six alternatives but not FERC’s Alternative Site 6).

     The Corps considered all the comments that it received. AR263-

276. If a party had timely and clearly brought Alternative Site 6 to the

Corps’ attention, then the Corps would have had the opportunity to

respond to any argument that Alternative Site 6 was the LEDPA. See

Shrimpers, 2023 WL 108558, at *5 (“During the comment period and

now, Petitioners wholly fail to substantiate their argument that the

VCP could be acquired by the Developers, and the Corps reasonably

determined that it was not obtainable.”); Gulf Coast Rod, Reel & Gun

Club, Inc. v. Corps of Engineers, 676 F. App’x 245, 251 (5th Cir. 2017)

(observing that it was “not clear that this alternative was ever proposed



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to the Corps” and noting that parties challenging NEPA compliance

must “structure their participation to alert the agency to their position”

unless a flaw is “so obvious that there is no need to point out the

shortcoming”). But the comments that the Corps received in response to

its public notice did not address Alternative Site 6.

     Because no one timely raised Alternative Site 6 to the Corps, this

Court should decline to consider Healthy Gulf’s argument that

Alternative Site 6 is the LEDPA. Nor does any established exception to

exhaustion apply. Cf. Gulf Restoration Network, 683 F.3d at 176-77

(identifying exceptions, including when exhaustion would be futile or

when a petitioner asserts constitutional claims). For example, Healthy

Gulf cannot claim that Alternative Site 6 is the LEDPA while also

contending that it was futile to raise the issue with the Corps. Cf. id.

     Healthy Gulf claims that “[p]ublic comments urged consideration

of” Alternative Site 6, but what Healthy Gulf refers to is one

individual’s submission of comments to FERC on its draft EIS. Healthy

Gulf Brief 39-40 (citing AR2524, 3245). During the public comment

period for the draft EIS, the commenter stated briefly that FERC had

disregarded an alternative that turned out to be Alternative Site 6.



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AR4386-4389. When FERC issued the final EIS, it reiterated why it

was excluding Alternative Site 6 from further study. 4 AR2519, AR3245.

     The Corps also received the commenter’s submission to FERC, as

well as other emails from the same individual. AR4381-89; AR4516-17.

But the Corps noted that the comments were untimely—submitted

about six months after the Corps’ comment period expired. AR4776-78

(20-day comment period began on March 5, 2018); AR5991 (comment

period extended to April 4, 2018); AR4386-4389 (comments in October

2018). The untimely commenter himself admitted this, telling the Corps

that “I missed your public notice.” AR4517. Even then, instead of

belatedly highlighting FERC’s Alternative Site 6 as the LEDPA, the

untimely commenter stressed to the Corps a very different concern—

potential contamination of dredged material associated with Driftwood’s

Beneficial Use Plan. AR4516-17, AR1921-1925.

     The Corps concluded that these communications were “way

outside” its comment period and that the untimely commenter’s

concerns about contamination would need to be addressed by FERC and

4 Contrary to Healthy Gulf’s assertions (at 36), FERC rejected

Alternative Site 6 because of concerns about wetland impacts, including
the probable presence of a wetland “vegetation community of special
concern.” AR2524, AR2631.

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other agencies. AR4381-89; AR4516-17; see, e.g., Appalachian Power Co.

v. EPA, 249 F.3d 1032, 1059 (D.C. Cir. 2001) (“An agency is not required

to consider issues and evidence in comments that are not timely filed.”).

None of this was sufficient to alert the Corps that it should consider

whether Alternative Site 6 was the LEDPA. See Shrimpers, 2023 WL

108558, at *3-4 (declining to evaluate alternative when petitioners

failed to give the Corps “an earlier opportunity to meaningfully consider

it”).

             2.    The omission of Alternative Site 6 from the
                   Corps’ alternatives analysis is at most a
                   harmless error.

        The Corps did not address Alternative Site 6 in its alternatives

analysis. If that is error, the error is harmless. A site must be

practicable to be the LEDPA. The Corps had already issued a permit to

another entity to develop Alternative Site 6, so the site was unavailable

when the Corps considered Driftwood’s permit application and thus not

practicable. See Shrimpers, 2023 WL 108558, at *5 (an alternative is

impracticable when it is unavailable). Healthy Gulf is not prejudiced by

the lack of explanation about Alternative Site 6. See Wages & White

Lion Invs. v. FDA, 41 F.4th 427, 442 (5th Cir. 2022) (assuming without



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deciding that agency had erred but concluding that petitioners had

failed to show prejudicial error).

      To be “practicable,” an alternative must be “available and capable

of being done after taking into consideration cost, existing technology,

and logistics in light of overall project purposes.” 40 C.F.R. §

230.10(a)(2) (emphasis added). A site that is not owned by the applicant

is available only if it “could reasonably be obtained, utilized, expanded,

or managed in order to fulfill the basic purpose of the proposed activity.”

40 C.F.R. § 230.10(a)(2). Here, Alternative Site 6 was unavailable to

Driftwood because the Corps had already issued a permit for another

company’s proposed project in that location. See Shrimpers, 2023 WL

108558, at *5 (holding that pipeline owned by a different company

without sufficient unused capacity to meet the needs of the project was

not available and therefore impracticable); City of Shoreacres, 420 F.3d

at 448 (holding that an alternative site was not available because the

Corps had issued a permit to another entity to build a different project

at the site).

      In 2013, the Corps’ New Orleans District received an application

for a Section 404 permit for a large portion of Alternative Site 6 to build



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a gas to ethanol facility (the Big Lake Fuels Site). See Corps’ Motion for

Judicial Notice, Exhibit 1.5 After the public interest review, the Corps

issued permit MVN-2013-02653-WII in June 2015 (the Big Lake Fuels

Permit). Id., Exhibit 2. The permit authorized the company to conduct

work until June 30, 2020. Id., Exhibit 3 at 1. The Big Lake Fuels

Project includes plans for a methanol plant, storage tanks, and a dock

and loading berth along the Intercoastal Waterway. Id., Exhibit 3,

Figure Number 3 (at PDF p.12).

     In February 2019 and April 2020, the Corps issued public notices

for potential modifications to the Big Lake Fuels Permit. Id., Exhibits 4,

5, 6. Thus, the Big Lake Fuels permittee showed its continued intent to

proceed with the project by requesting modifications of its unexpired

permit in 2020, and the Corps did modify the Big Lake Fuels Permit in

2021. Id., Exhibits 4, 5, 6. In other words, during the entire time the

Corps was evaluating Driftwood’s permit application—from 2017 to




5 Concurrently with the filing of this brief, the Corps has moved the

Court to take judicial notice of the existence of the Corps’ permit for
activities at FERC’s Alternative Site 6, as well as the geographic
location of that site. See Corps’ Motion for Judicial Notice 1-11.

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May 2019—most of Alternative Site 6 was within the footprint of

another proposed project that had already been permitted by the Corps.

     The overlap can be seen by comparing Figures 1 and 2 on the

following pages. Cf. Healthy Gulf Brief 41 (depicting Figure 1). Figure 1

shows Alternative Site 6 (yellow boundaries), while Figure 2 shows the

areas that the Corps permitted under the 2015 Big Lake Fuels Permit

(purple boundaries), as well as the permittee’s 2020 request to modify

the Permit by expanding the permitted activities (red boundaries). Id.

at 7. Both Alternative Site 6 and the Big Lake Fuels Site occupy similar

river frontage along the Intercoastal Waterway, north of Choupique

Island (the island in the center of Figure 1 and at the bottom left part of

Figure 2).




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   Figure 1. FERC’s EIS diagram showing Alternative Site 6 (yellow
boundaries) and Driftwood’s proposed site (purple boundaries). AR2522.




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Figure 2. Corps’ diagram of Big Lake Fuels Site (purple boundaries for
2015 permit and red boundaries for 2020 modification to expand site).




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     Alternative Site 6 was unavailable because the Corps had already

issued a permit for the Big Lake Fuels project, which would put much of

Alternative Site 6—critically including the river frontage—to a

conflicting use. See City of Shoreacres, 420 F.3d at 448 (upholding the

Corps’ determination that an alternative was impracticable because it

“would frustrate the overall project purpose in the further sense that it

would needlessly complicate, rather than simplify, the logistics”). The

“mere, unsupported theoretical possibility of acquiring” an alternative

site “does not constitute a showing that the alternative site is

reasonably obtainable, much less that the Corps’ decision was arbitrary

and capricious.” Id. at 449. That is all the more true when the Corps

had issued a permit for a different project on Alternative Site 6.

     Under the APA, the Court must take “due account” of the rule of

prejudicial error. 5 U.S.C. § 706. The harmless error rule requires

Healthy Gulf to show prejudice from an asserted error. City of

Arlington, Texas v. FCC, 668 F.3d 229, 243 (5th Cir. 2012), aff’d, 569

U.S. 290 (2013). The fundamental question is whether the agency’s

error “clearly had no bearing on the procedure used or the substance of

decision reached.” Id. at 244 (cleaned up). Healthy Gulf argues that the



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Corps substantively violated the Clean Water Act because it did not

address FERC’s Alternative Site 6. But that site was unavailable

because the Corps had issued a permit for most of Alternative Site 6. A

site that is not available is not practicable and cannot be the LEDPA.

40 C.F.R. § 230.3(l). The Corps’ inclusion of this explanation in its

decision document unequivocally would not have changed the decision.

As for the Clean Water Act’s requirement to permit the LEDPA for

Driftwood’s LNG facility, the Corps’ decision is clearly correct. See Texas

Tech Physicians Associates v. U.S. Dep’t of Health & Human Servs., 917

F.3d 837, 846-47 (5th Cir. 2019) (acknowledging the Chenery doctrine but

finding harmless error when the agency did not expressly address two

defenses raised by the petitioner before the agency); cf. Healthy Gulf

Brief 43 n.11 (asserting that Corps “cannot now claim the site was

impracticable”).

                               *      *       *

     To sum up, the Corps did a robust LEDPA analysis before

selecting Driftwood’s proposed location for the LNG facility. Healthy

Gulf’s claim that the Corps should have selected Alternative Site 6 as

the LEDPA is incorrect because: (1) no one suggested that site was the



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LEDPA during the Corps’ notice and comment process; and (2) the

omission of the site from the Corps’ LEDPA analysis is at most a

harmless error because the site was unavailable. In short, the

“permitted project is the LEDPA.” Shrimpers, 2023 WL 108558, at *5;

see also id. (“The Corps has satisfactorily explained its reasons for

rejecting the alternatives previously presented to it and more than met

the minimal standards of rationality required for our review.”).

II.   The Corps properly required mitigation for all project
      impacts that could not be minimized or avoided.

      The Corps properly required Driftwood to mitigate all project

impacts that could not be minimized or avoided. Healthy Gulf objects to

the Corps’ approval of the Beneficial Use Plan, but it misreads the

Clean Water Act regulations and this Court’s Basinkeeper decision, and

it raises technical objections that are undercut by the Corps’ thorough

evaluation of the Plan.

      A.   The Corps required full compensatory mitigation
           through a combination of mitigation bank
           credits and the Beneficial Use Plan.

      The Corps adhered to its framework for compensatory mitigation.

The Corps’ regulations are not as rigid as Healthy Gulf contends. And

the Corps fully justified its decision to require Driftwood to offset some


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wetland losses by purchasing mitigation bank credits and other losses

through the Beneficial Use Plan.

           1.    The mitigation hierarchy allows the Corps
                 to exercise its expert judgment when
                 determining the appropriate mitigation
                 options.

     The Corps’ compensatory mitigation regulations create a

hierarchy for the types and locations of compensatory mitigation that

the Corps requires. 33 C.F.R. § 332.3(b)(1); see also Atchafalaya

Basinkeeper v. U.S. Army Corps of Engineers, 894 F.3d 692, 699-701

(5th Cir. 2018) (describing the hierarchy). The regulation includes a

preference for mitigation options in the following order: (1) mitigation

bank credits, (2) in-lieu fee programs, and (3) permittee-responsible

mitigation. 33 C.F.R. § 332.3(b). In honoring this preference, the Corps

still must exercise its expert judgment to ensure that the “fundamental

objective of compensatory mitigation” is met—to “offset environmental

losses resulting from unavoidable impacts.” Id. § 332.3(a). And when

evaluating compensatory mitigation options, the district engineer is

required to “consider what would be environmentally preferable.” Id.

     Healthy Gulf misinterprets the regulations. Healthy Gulf Brief 50-

52, 55. In Healthy Gulf’s view, the Corps must mechanically require a


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permittee to purchase all mitigation bank credits that are available;

only if no credits are available may the Corps move to the next

mitigation option. Id. at 55.

     The plain language of the regulation contravenes that view. When

considering options for “successfully providing the required

compensatory mitigation,” the district engineer “shall consider the type

and location options in the order presented” in 33 C.F.R. § 332.3(b)(2)

through 332.3(b)(6). Id. § 332.3(b)(1) (emphasis added). In turn, the

mitigation bank credits provision describes the advantages of a

mitigation bank and directs that the district engineer “should give

preference to the use of mitigation bank credits when these

considerations are applicable.” Id. § 332.3(b)(2). But the very next

sentence notes that “these same considerations may also be used to

override this preference, where appropriate.” Id. (emphasis added). And

one of the examples given for overriding the preference is when a

permittee-responsible project “will restore an outstanding resource

based on rigorous scientific and technical analysis.” Id. In short, the

regulation sets a clear preference for mitigation bank credits over other




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mitigation options, but it also imbues the district engineer with

discretion to override that preference.

     As the Corps explained when promulgating the regulations, they

strike a “proper balance of binding requirements and discretion.”

Compensatory Mitigation for Losses of Aquatic Resources, 73 Fed. Reg.

19,594, 19598 (Apr. 10, 2008). The regulations provide “flexibility

necessary to ensure that compensatory mitigation requirements for a

particular [] permit appropriately offset authorized impacts.” Id. The

Corps stressed the need for “discretionary language” because resource

types, project impacts, and compensatory mitigation practices “vary

widely across both projects and regions of the country.” Id. The

discretion in the regulations thus promotes “both regulatory efficiency

and project success” and ensures that “required mitigation is

practicable.” Id. And the preference hierarchy “does not override a

district engineer’s judgment as to what constitutes the most appropriate

and practicable compensatory mitigation based on consideration of case-

specific circumstances.” Id. at 19,628.

     The Corps’ interpretation of the plain regulatory text also accords

with this Court’s decision in Atchafalaya Basinkeeper v. U.S. Army



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Corps of Engineers, 894 F.3d 692 (5th Cir. 2018). In Basinkeeper, the

Court upheld the Corps’ decision to require a project applicant to

purchase mitigation bank credits—the first step in the mitigation

hierarchy—rather than requiring (as those plaintiffs urged) the

permittee to clean up degraded areas. See id. at 700 (“If this language

does not set up a plain ‘hierarchy’ strongly approving of mitigation

banks—as opposed to the Appellants’ proffered clean-up by Bayou

Bridge of spoil banks created by other pipeline builders long ago—it is

hard to know what would do.”). Thus, this Court agreed with the Corps

that the regulations set up a plain “‘hierarchy’ strongly approving of

mitigation banks.” Id. at 700.

     But the Court also acknowledged that the regulations contained

another preference for in-kind mitigation over out-of-kind mitigation.

Basinkeeper, 894 F.3d at 700 (quoting 33 C.F.R. §§ 332.3(e)(1)).6 That

preference included a “critical exception” that authorized the Corps to

depart from the preference for in-kind mitigation based on the district


6 “In-kind” means a resource of a similar structural and function type to

the impacted resource, while “out-of-kind” means a resource of a
different type than the impacted resource (bottomland hardwood versus
pine forest savannah). 33 C.F.R. § 332.2 (defining “in-kind” and “out-of-
kind”).

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engineer’s judgment. Basinkeeper, 894 F.3d at 700 (quoting 33 C.F.R.

§ 332.3(e)(2)). Looking again to the regulation’s plain text, the Court

explained that the Corps could allow the permittee to purchase out-of-

kind credits within the same watershed if they “serve the aquatic

resource needs of the watershed and if the Corps’ reasoning is

documented in the administrative record.” Id. (citing 33 C.F.R.

§ 332.3(e)(1), (2)). Thus, the question for the Court was simply “whether

the Corps sufficiently documented” how credits that it required “serve

the Basin’s aquatic resource needs.” Id. at 700.

     Healthy Gulf misreads Basinkeeper when it contends (at 52) that

this Court “explicitly rejected arguments that the regulations allow a

flexible approach to optimize mitigation.” Basinkeeper honored the plain

language of the regulations, which sets a hierarchy and identifies

reasons that the Corps may depart from that hierarchy. 894 F.3d at

699-703. Basinkeeper also highlighted both the APA’s deferential

standard of judicial review for administrative decisions and the

“particular judicial deference” that this Court affords to the Corps when

it employs its scientific judgment and expertise. Id. at 701-703 (cleaned

up). In other words, Basinkeeper affirmed that within the regulatory



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framework, the Corps has discretion to determine the environmentally

preferable outcome for compensatory mitigation and to tailor the

mitigation plan to best achieve that outcome. 33 C.F.R. §§ 332.3(a), (b).

The Corps did that here, as discussed next.

           2.    Exercising its expert judgment, the Corps
                 approved a mitigation plan that fully
                 compensates for permanent wetland losses.

     Before issuing the Permit, the Corps rigorously scrutinized

Driftwood’s proposed mitigation plan, required changes to improve the

plan, and explained its reasons for approving different types of

mitigation for different impacts—as the regulations contemplate. Based

on this thorough analysis, the Corps concluded that Driftwood would

fully compensate for all permanent wetland impacts associated with the

Project that could not be avoided or minimized. The Corps also found

that Driftwood’s Beneficial Use Plan would not only compensate for the

185 acres of impacts but also has the potential to create a significant

environmental benefit exceeding the required mitigation—up to 3,009

acres of restored coastal wetlands. Contrary to Healthy Gulf’s

assertions, the Corps’ application of its expert judgment is reasonable

and supported by the record.



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      First, to begin with the big picture, the Corps required Driftwood

to fully compensate for the permanent loss of 319.3 acres of wetlands

associated with the LNG facility. AR300. To ensure that Driftwood

compensated for all impacts, the Corps relied on the Louisiana Rapid

Assessment Method (LRAM). AR301; 33 C.F.R. § 332.3(f)(1). The Corps’

New Orleans District employs the LRAM as a technical tool to assess

the loss in wetland functions attributable to a permitted project and to

determine the proper amount of mitigation required to offset those

losses. Basinkeeper, 894 F.3d at 701 (identifying half a dozen factors

that LRAM examines to score wetlands impacts). This Court upheld the

Corps’ reliance on the LRAM model in Basinkeeper, concluding that the

LRAM is “the type of ‘functional assessment’ tool that the [Clean Water

Act] regulation advises ‘should be used’ to ‘determine how much

compensatory mitigation is required.” 894 F.3d at 700 (quoting 33

C.F.R. § 332.3(f)(1)).

      Relying on the LRAM calculations, the Corps approved of

Driftwood buying credits from mitigation banks to compensate for 134.3

acres of impacts to bottomland hardwood and coastal prairie wetlands.

AR265, AR259, AR300, AR418-420, AR426-36. For the remaining 185



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acres of impacts to wetlands for the LNG facility, the Corps also relied

on the LRAM calculations to approve Driftwood’s Beneficial Use Plan to

restore 496.4 acres of saltwater marsh and 149.4 acres of fresh marsh.

AR265, AR259, AR300, AR418-420, AR426-36. 7 Based on these LRAM

calculations, the Corps concluded that “[a]ll impacts will be mitigated”

through mitigation bank credits and the Beneficial Use Plan. AR300.

     Healthy Gulf challenges the Corps’ reliance on the LRAM

calculations. Healthy Gulf Brief 58-59. But Healthy Gulf

misapprehends how the Corps used the LRAM tool. The Corps used the

LRAM calculations to ensure that Driftwood fully compensated for all

permanent wetland losses, through a combination of mitigation bank

credits and implementation of the Beneficial Use Plan. AR300. On that

score, Healthy Gulf has pointed to no errors in the LRAM calculations

that would call the Corps’ conclusion into question. See Basinkeeper,

894 F.3d at 701-02 (upholding the Corps’ LRAM analysis).




7 In August 2017, Driftwood proposed to use the Beneficial Use Plan to

mitigate for 288.6 acres of impacts. AR18424, AR18439. But by October
2017, Driftwood had revised its proposal to purchase mitigation bank
credits for 103.6 acres of those impacts and to use the Plan to mitigate
for the remaining 185 acres. AR13399, AR13416.

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     Second, the Corps rationally allowed Driftwood to implement the

Beneficial Use Plan rather than buy more mitigation bank credits.

AR259, AR299-301. The Corps agrees with Healthy Gulf that the

Beneficial Use Plan is a form of permittee-responsible mitigation

because Driftwood retains responsibility for successful implementation.

AR12 (Special Condition 36.i.); Healthy Gulf Brief 53-55. So the

question is whether the Corps sufficiently documented its decision to

allow Driftwood to depart from the preference for mitigation bank

credits over permittee-responsible mitigation, as authorized by 33

C.F.R. § 332.3(b). See Argument Point II.A.1.; see also Basinkeeper, 894

F.3d at 700.

     The Corps did so. The record shows that the Corps rationally

concluded that the Beneficial Use Plan’s environmental benefits

outweighed the benefits of buying credits for the 185 acres of wetland

impacts. At the threshold, the Plan required Driftwood to fully

compensate for the 185 acres of impacts by restoring 650 acres of

coastal marsh wetlands. AR259. And in the long term, the Plan also

was expected to restore up to 3,009 acres of marsh habitat, much more




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than the 185 acres of coastal wetlands impacts for which Driftwood had

to compensate. AR259.

      In addition, Driftwood’s proposal to beneficially use dredge

material accorded with Louisiana state law and with Louisiana’s

Master Plan for Coastal Protection and Restoration and the goals of the

Chenier Plain Coastal Protection and Restoration Authority. AR2478.

In practical terms, Louisiana has lost significant coastal wetlands in

recent decades, and the State has developed programs to promote

restoration of those wetlands to protect coastal areas. The Beneficial

Use Plan advances these important State goals by rebuilding coastal

wetlands. AR296-97. The Corps concluded that the Beneficial Use Plan

would restore degraded fresh and saline coastal marsh and that “these

results are expected to outweigh the traditional mitigation bank credit

program.” AR299 (emphasis added). The Corps reached a rational

conclusion based on its expert judgment. Basinkeeper, 894 F.3d at 700-

703; see 33 C.F.R. §§ 332.3(a)(1), (b)(1), (b)(2).

      In departing from the preference for mitigation bank credits, the

Corps also relied on scientific and technical analysis of the Beneficial

Use Plan. AR471-551; AR299-301; see 33 C.F.R. § 332.3(b)(2) (indicating



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that the Corps may “override” the preference for credits, “where

appropriate as, for example, where” a permittee-responsible project

“will restore an outstanding resource based on rigorous scientific and

technical analysis”). The record shows that Driftwood developed the

Plan over several years, with the Corps reviewing Driftwood’s proposals

and requiring changes to address specific technical concerns. AR920-25;

AR554-55; AR6361-62.

     Before approving the Beneficial Use Plan, the Corps also made

sure that other federal and state agencies provided input. AR2619. The

Corps coordinated the LRAM calculations and final compensatory

mitigation plans with the U.S. Environmental Protection Agency (EPA)

and the Louisiana Department of Wildlife and Fisheries (the Wildlife

Department). AR265, AR270. The Corps responded to input from the

Wildlife Department by adding a special condition in the permit.

AR270. Ultimately, both agencies concurred in the final mitigation

plans that the Corps approved. AR265, AR270, AR2275-78, AR3481-83.

Driftwood also consulted the National Marine Fisheries Service about

the Plan, which agreed that the Plan would ensure that construction of




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the LNG facility would not cause significant adverse impacts to

essential fish habitat. AR2617; AR10792-94.

     The Corps and Driftwood also discussed the Plan with the

Louisiana Department of Natural Resources Office of Coastal

Management, the state agency responsible for managing coastal

resources. AR299. That Office granted a Coastal Use Permit

authorizing Driftwood to implement the Plan. AR902-07. Finally,

during its NEPA review, FERC also considered the Plan and concluded

that “re-creation of emergent wetlands” within the Plan sites “would

offset adverse impacts on wetlands from construction and operation of

the LNG Facility, resulting in long-term benefits to wetlands near the

LNG Facility.” AR2620; AR2478-79. Only after vetting the Beneficial

Use Plan with other federal and state agencies did the Corps approve

Driftwood to use the Plan. AR920; AR299-301.

     Healthy Gulf contends that the Corps failed to justify the

Beneficial Use Plan. Healthy Gulf Brief 55-59. To be sure, the Corps

misstated in its decision that the selected compensatory mitigation did

not deviate from the order of options in the regulation, so it did not need

to provide a rationale for a deviation. AR301. But just two pages earlier



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in its decision, the Corps did explain why it was deviating from the

preference for mitigation bank credits—because it expected the Plan’s

results to “outweigh the traditional mitigation bank credit program” for

specific types of coastal wetlands. AR299.

     Healthy Gulf does not acknowledge that explanation. Nor does it

confront the record evidence that the Corps, along with other state and

federal agencies, thoroughly scrutinized the Plan to ensure that

Driftwood would “restore an outstanding resource based on rigorous

scientific and technical analysis.” 33 C.F.R. § 332.3(b)(2). Even if the

Corps’ discussion “might have been improved with the addition of

certain details,” its “path could ‘reasonably be discerned’” from the

record and therefore should be “upheld.” Basinkeeper, 894 F.3d at 699

(quoting Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644,

658 (2007)). That is even more so here, where the Corps was acting

within its core expertise to determine the most environmentally

preferable way to provide full compensatory mitigation for all impacts

from the Project. 33 C.F.R. § 332.3(a); see Basinkeeper, 894 F.3d at 700-

703; id. at 701 (“In general, the Supreme Court has held that the use of




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scientific methodology like that contained in the LRAM is subject to

particular judicial deference.”).

     Healthy Gulf advances two other incorrect arguments about the

mitigation hierarchy. The first argument is that the Corps failed to

show that higher-preference alternatives were unavailable. Healthy

Gulf Brief 55. But the plain text of the regulations does not require the

Corps to exhaust mitigation bank credits and in-lieu fee program

credits before permitting a permittee-responsible mitigation project. See

Argument Point II.A.1.

     The second argument is that Basinkeeper “foreclosed” the Corps

from selecting the Beneficial Use Plan over higher-tier mitigation

options. Healthy Gulf Brief 57-58. Basinkeeper did not so hold. See

Argument Point II.A.1. Healthy Gulf also contends that the Corps has

made a stark change in its purported position that the mitigation

hierarchy is “rigid and inflexible.” Healthy Gulf Brief 57-59. But the

Corps’ consistent position is that there is a preference hierarchy for

types of mitigation, that it will provide appropriate justification when it

departs from that hierarchy, and that it may reasonably do so based on

its expert judgment of environmental benefits. The Corps did so here.



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     B.    Healthy Gulf’s technical objections to the
           Beneficial Use Plan lack merit.

     Finally, Healthy Gulf raises two objections to the Beneficial Use

Plan, but they reflect technical issues that the Corps addressed before

approving the Plan. Health Gulf Br. 59-68. This Court “must be most

deferential to the agency where, as here, its decision is based upon its

evaluation of complex scientific data within its technical expertise.”

Shrimpers, 2023 WL 108558, at *6 (cleaned up).

           1.    The Permit includes special conditions to
                 ensure that Driftwood successfully restores
                 wetlands.

     Healthy Gulf contends (at 61-63) that the Plan and Permit

conditions fail to ensure that Driftwood will create high quality

wetlands, but the record disproves that contention. Both the Beneficial

Use Plan and the Permit conditions require Driftwood to create and

maintain healthy coastal wetlands that are spatially and functionally

successful over the long term.

     Take for example, Healthy Gulf’s assertion that the Plan proposes

to replace high quality wetlands with low-quality restored wetlands

that have “dubious prospects for success.” Healthy Gulf 61. Healthy

Gulf notes (at 61) that the Corps must ensure that compensatory


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mitigation produces a “high level of functional capacity, even when

compensating for degraded or low-quality resources.” 73 Fed. Reg. at

19,601. But the very next sentence of that regulation explains that the

Corps may “adjust for the relative quality of impact sites and mitigation

projects, where appropriate.” Id. And the Corps is encouraged to rely on

functional assessments. Id.

     That is exactly what the Corps did here. The LRAM calculations

show that because Driftwood will create more new wetlands than the

Project will impact, the additional wetland acreage will ensure complete

replacement of lost ecological values—even if the created wetlands may

have lower functional value than the lost wetlands. See AR433-435

(same document cited by Healthy Gulf at AR2326-28) (showing, for

example, that of 126.2 impacted acres, the LRAM impacts would be

1,489.2, while the LRAM mitigation would 2,805.4); AR300.

     Healthy Gulf questions whether the performance standards in the

Beneficial Use Plan will ensure the restored wetlands flourish in the

longer term. Healthy Gulf Brief 62-63. Healthy Gulf fails to note that

along with the performance standards, the Plan also contains long-term




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performance criteria for various metrics, including target elevation,

turbidity, tidal exchange, and vegetative plantings. AR490-96.

     Besides, two Permit conditions directly address Healthy Gulf’s

concerns. First, Special Condition 36.a. specifies that Driftwood must

execute “successful completion and maintenance” of the Beneficial Use

Plan and the marsh re-establishment and creation component of the

Project, or it will need to provide additional compensatory mitigation.

AR11. If any part of the Plan becomes infeasible, delayed, or fails to

occur, Driftwood will have 30 days to resolve the issue. AR11.

     Second, the Corps may require additional compensatory

mitigation for any temporal lag or other deficiencies in the Plan. AR11.

Special Condition 36.j. specifies that the Beneficial Use Plan and marsh

re-establishment part of the Project “must be maintained to its fullest

extent, both spatially and functionally, for a period of not less than 20

years.” AR12 (emphasis added). Together these two conditions require

Driftwood to ensure that the 650 acres of restored wetlands are

successful for over two decades, both spatially and functionally, or the

Corps may step in and require additional compensatory mitigation.




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     But that is not all. The Corps included many other special

conditions in the Permit to ensure Driftwood successfully implements

the Beneficial Use Plan:

  • Driftwood must provide the Corps with as-built drawings, data,
    and photographs of the Beneficial Use Areas within 30 days of
    construction, AR11;

  • Driftwood must submit monitoring reports on site conditions with
    data, maps, and photographs after years two, five, ten, and
    twenty, AR12;

  • Driftwood must ensure 80 percent vegetative coverage with non-
    invasive wetland species by the third growing season or it must
    plant native species annually until 80 percent coverage is
    achieved through a complete growing season, AR12;

  • Driftwood must control exotic and invasive species to keep those
    species below about 3 percent of the vegetative cover, AR12;

  • Driftwood must breach, remove, or degrade containment dikes and
    structures to return areas to natural hydrologic tidal connectivity,
    AR12;

  • Driftwood must promptly notify the Corps if any area is destroyed
    or adversely impacted within the 20-year maintenance timeframe
    and must restore the affected area or acquire compensatory
    mitigation if remediation is infeasible, AR12.

Healthy Gulf also questions the potential temporal gap between

impacts and restoration of wetlands. Healthy Gulf Brief 63. The Corps

addressed this in Special Condition 36.b., which requires Driftwood to

establish the Beneficial Use Areas simultaneously with impacts from



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constructing the LNG facility. AR11. Reinforcing this restriction on

temporal loss, the Permit also prohibits the facility-related acres that

Driftwood impacts from exceeding the acres that Driftwood creates

through beneficial placement of dredged material. AR11. To implement

Special Condition 36.b., Driftwood developed a schedule for placing

dredged material that will result in minimal temporal lag between

wetland impacts and new marsh habitat created in the Beneficial Use

Areas. AR18-20.

     Finally, the Louisiana Department of Natural Resources, Office of

Coastal Management imposed even more conditions on Driftwood

related to the Beneficial Use Plan when it granted Driftwood a Coastal

Use Permit. AR902-907. Many of those conditions reinforce and

complement the special conditions in the Clean Water Act Permit. The

combined effect of the Permit’s conditions is that Driftwood must ensure

that the Beneficial Use Plan restores at least the 650 acres of coastal

wetlands required to compensate for the 185 acres of impacts or the

Corps can require more compensatory mitigation.




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           2.      The Corps reasonably resolved technical
                   issues about the Beneficial Use Plan.

     Healthy Gulf inaccurately asserts that the Corps “failed to

address serious concerns that would fundamentally undermine” the

Beneficial Use Plan. Healthy Gulf Brief 63. The record shows that the

Corps did address those concerns. Healthy Gulf simply disagrees with

how the Corps did so, which offers no grounds for overturning the

Corps’ decision.

     First, Healthy Gulf contends that the Corps failed to address

concerns raised by the Louisiana Department of Wildlife and Fisheries

about a rock embankment that prevented fish from reaching Beneficial

Use Area 4. Healthy Gulf Brief 63-65. Yet the Corps and Driftwood did

address that issue, as Healthy Gulf admits. Id. at 64-65. The Wildlife

Department agreed with Driftwood that the embankment allowed

hydrologic connectivity for the wetlands in Area 4 but pushed for

Driftwood to install access points for fish in the embankment. AR3473;

AR2277. Driftwood explained that the embankment was a critical

project built in 1997 to combat severe erosion of wetlands in Area 4 and

could not be modified without risking serious erosion. AR3469-3473.

Based on these discussions, the Wildlife Department concluded that


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because Driftwood was creating a surplus of estuarine wetlands and

tidal connections in Area 8, its concerns about the fish dips “ha[d] been

alleviated.” AR2275. After the Wildlife Department communicated that

its concerns were resolved, the Corps rationally chose to move forward

with its review. AR2264-65.

     Although Driftwood could not modify the embankment in Area 4,

it found other ways to ensure that aquatic biota could reach restored

wetlands. Driftwood adopted the National Marine Fisheries Service’s

recommendation to create gaps in the containment dikes in Area 5 to

allow access for fish. AR268-269. And Driftwood plans to open Area 8 to

allow tidal exchange access for aquatic biota. AR269. In the end, the

Wildlife Department concurred in the final mitigation plan and did not

object to the Permit’s issuance. AR270.

     Second, Healthy Gulf contends that the Corps “ignored concerns”

about potential contamination in the dredge material that Driftwood

plans to put to beneficial use. Healthy Gulf Brief 65-69. Here again, the

record reflects that the Corps did not ignore those concerns. Beginning

in 2017, early in the environmental review process, the Corps and

FERC both raised the risk of contaminated dredged material with



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Driftwood. AR22883-86 (FERC July 2017 request for information on

“dredging near or in areas with known or potential contaminated soil

and groundwater”), AR22874-75 (Corps’ July 2017 emails addressing

potential contamination), AR13438-39 (Corps’ October 2017 email

stating “we do not concur” with Driftwood’s letter).

     As Healthy Gulf notes, a Corps employee stated in September

2018 that the Corps was “punting to FERC” on the contamination issue.

Healthy Gulf Brief 66 (AR4566). But that one email does not present

the Corps’ full analysis of this issue. See, e.g., WildEarth Guardians v.

Nat’l Park Serv., 703 F.3d 1178, 1186-87 (10th Cir. 2013) (“[A] diversity

of opinion by local or lower-level agency representatives will not

preclude the agency from reaching a contrary decision, so long as the

decision is not arbitrary and capricious and is otherwise supported by

the record.”); see also Nat’l Ass’n of Home Builders, 551 U.S. at 658-59

(“[T]he fact that a preliminary determination by a local agency

representative is later overruled at a higher level within the agency

does not render the decisionmaking process arbitrary and capricious.”)

     In fact, the Corps stayed engaged on the issue and continued

discussing it with FERC and Driftwood. AR4381-89 (November 2018



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request from FERC for the Corps’ input on contamination issue),

AR3490-92 (November 2018 email noting that the Corps needed to

discuss the contamination issue with FERC). For example, in November

2018, the Corps reviewed and provided input on Driftwood’s proposed

response to a public comment on the contamination issue for the EIS.

AR3884-87.

     After the Corps and FERC collaborated on this issue, FERC

thoroughly addressed the potential for contaminated dredged material

in the final EIS. AR2573-77, AR2584. FERC observed that Driftwood

had developed both a Risk Management Plan and an Unanticipated

Discoveries Plan to account for the possibility of encountering

contaminated material while dredging or excavating the site. AR2576-

77. Driftwood consulted the Louisiana Department of Environmental

Quality, which approved of Driftwood’s proactive approach. AR2584.

Driftwood also committed to not dredge a small area of the site where

the soil and sediment was not tested. AR2576. In light of the extensive

technical record, FERC concluded that Driftwood’s activities “would not

mobilize existing contaminated soils.” AR2577. FERC’s technical

judgment is sound.



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      Healthy Gulf contends (at 66) that FERC’s conclusions are

“flawed,” but that objection is misdirected and untimely. No one,

including Healthy Gulf, challenged FERC’s conclusions when it issued

the final EIS and approved Driftwood’s Project. Given that the Corps

engaged closely and cooperated with FERC to address the potential

contamination risks during the NEPA process, the Corps could

reasonably rely on FERC’s conclusions. To be sure, the Corps “cannot

just rubberstamp another agency’s assurances” for any aspect of its

analysis. Hoosier Envtl. Council v. U.S. Army Corps of Eng’rs, 722 F.3d

1053, 1061 (7th Cir. 2013). But if another agency has “conducted a

responsible analysis the Corps can rely on it in making its own

decision.” Id.

      Yet the Corps did not merely adopt FERC’s technical conclusions,

as Healthy Gulf asserts; it also addressed the issue in the Permit. The

Corps included two special conditions in the Permit to prevent

Driftwood from placing contaminated dredge material in the Beneficial

Use Areas. The Permit requires that “any excavated and/or fill material

placed within wetlands must be free of contaminants to the best of the

permittee’s knowledge.” AR7. And the Permit requires that Driftwood



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“shall at all times exercise due caution as not to allow contaminants

from the construction process to enter waters of the [United States].”

AR13. These Permit conditions contradict Healthy Gulf’s contentions

that the Corps blindly adopted FERC’s conclusions in the EIS and

brushed aside concerns about potential contamination. Cf. Healthy Gulf

Brief 66-69.

     What is more, the Louisiana Department of Natural Resources

imposed similar conditions on Driftwood in the Coastal Use Permit.

AR902-907. Thus, the Coastal Use Permit requires Driftwood to ensure

that all fill material “shall be clean and free of contaminants and shall

not contain hazardous materials such as asbestos or asbestos residue,

shingles, tires, oil/grease residue, exposed rebar, protruding objects,

etc.” AR904; see also AR905 (“No hydrocarbons, substances containing

hydrocarbons, drilling mud, drilling cuttings, and/or toxic substances

shall be allowed to enter adjacent waterways and wetlands.”).

     Healthy Gulf asserts that the Corps failed to address two narrow

technical aspects of the potential contamination issue, but neither has

merit. Healthy Gulf Brief 67-69. First, Healthy Gulf asserts that the

Corps arbitrarily relied on FERC’s conclusion that oversight by the



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Louisiana Department of Environmental Quality would ensure that no

contaminated material was used. Healthy Gulf Brief 67. Healthy Gulf

claims this reliance was arbitrary because the Louisiana Department of

Environmental Quality was only overseeing contamination at one

location on the site. Healthy Gulf Brief 67. But Healthy Gulf

misinterprets the record, which shows that the Louisiana Department

of Environmental Quality’s oversight extended beyond contamination

discovered at that location. AR2573-2576. Moreover, FERC and the

Corps reasonably relied on Driftwood’s commitment to not dredge in

areas that were contaminated—a commitment that the Corps is

enforcing through the Permit conditions. AR2577, AR7, AR13.

     Healthy Gulf also criticizes FERC for “effectively” using state

contamination standards (abbreviated RECAP), even though the Corps

had observed that it did not use RECAP standards as a pass or fail

metric for beneficial use. Healthy Gulf Brief 67 (quoting AR22874).

According to Healthy Gulf, the Corps “failed to address this

discrepancy,” id. at 67, but a closer look at the record shows that the

Corps did address the issue by agreeing with Driftwood’s and FERC’s

reference to an EPA manual on contamination testing. AR2574-76



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(FERC’s conclusion in the EIS that “the intent of the [EPA manual] is

satisfied”); AR3884-86 (Corps’ approval of Driftwood’s resolution of the

relationship between the RECAP and EPA manual standards).

     Second, Healthy Gulf claims that the Corps failed to satisfy an

independent duty to ensure that Driftwood would not deposit

contaminated material into the Beneficial Use Areas. Healthy Gulf

Brief 67-68. But Healthy Gulf fails to acknowledge the Permit

conditions that the Corps included to prohibit Driftwood from using

contaminated material. AR7, AR13. Stepping back, the record shows

that the Corps (1) carefully addressed the risk of contamination

throughout the environmental review; (2) reasonably relied on FERC’s

technical conclusions in the EIS; and (3) independently addressed the

risk of contamination by including express conditions in the Permit.

     At bottom, Healthy Gulf is objecting to the Corps’ resolution of

highly technical and scientific issues that were examined by multiple

agencies—the Corps, FERC, and the Louisiana Department of

Environmental Quality. This Court should defer to the Corps’ expert

determinations on the potential contamination issue. Sierra Club v.

EPA, 939 F.3d 649, 680 (5th Cir. 2019) (“A reviewing court must be



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most deferential to the agency where, as here, its decision is based upon

its evaluation of complex scientific data within its technical expertise.”)

(cleaned up).

III. Even if remand were necessary, Healthy Gulf’s
     requested vacatur remedy is unjustified under this
     Court’s precedent.

     The Court should uphold the Corps’ decision because it is rational.

Even if the Court finds a flaw that is prejudicial to Healthy Gulf, it

should decline Healthy Gulf’s request (Br. 69-74) to vacate the Permit

and should instead remand to the Corps for further proceedings. This

Court and other courts of appeals typically evaluate two factors when

making the equitable determination whether vacatur is warranted: (1)

whether there is “at least a serious possibility” that the agency “will be

able to substantiate its decision given an opportunity to do so,” and (2)

whether vacating the agency action would be “disruptive.” Cent. & S. W.

Servs., Inc. v. U.S. E.P.A., 220 F.3d 683, 692 (5th Cir. 2000); see also

Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers, 781

F.3d 1271, 1290-91 (11th Cir. 2015) (identifying this Court and other

sister circuits that have concluded that “remand without vacatur is

permitted under the APA” and identifying the commonly accepted two-



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factor test). Both factors here weigh heavily in favor of remand without

vacatur.

     First, any error is not serious enough to warrant vacatur.

“Remand, not vacatur, is generally appropriate when there is at least a

serious possibility that the agency will be able to substantiate its

decision given an opportunity to do so.” Texas Ass’n of Mfrs. v. U.S.

Consumer Prod. Safety Comm’n, 989 F.3d 368, 389 (5th Cir. 2021). The

Corps thoroughly analyzed seven alternatives before selecting the

LEDPA for the LNG facility, and the eighth alternative site that it did

not address was neither raised during the Corps’ notice and comment

process nor even available. Argument Point I. And the Corps rationally

required Driftwood to provide full compensatory mitigation for all

unavoidable impacts. Argument Point II. Even if the Clean Water Act

or the APA requires more, there is at least a “serious possibility” that

the Corps “will be able to remedy” that defect by providing additional

explanation for its decision. Texas Ass’n of Mfrs., 989 F.3d at 389.

     In urging vacatur, Healthy Gulf repeats its inaccurate merits

argument that Alternative Site 6 is the LEDPA. Healthy Gulf Brief 70.

But Alternative Site 6 was unavailable when the Corps was evaluating



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Driftwood’s permit application. See Argument Point I.B.1. Even if the

Corps’ failure to explain this when it issued the Permit were a

prejudicial error (it is not), the Corps could readily provide that

explanation on remand. See, e.g., Vecinos para el Bienestar de la

Comunidad Costera v. FERC, 6 F.4th 1321, 1332 (D.C. Cir. 2021)

(remanding FERC authorization for an LNG project without vacatur

because it is “reasonably likely that on remand [FERC] can redress its

failure of explanation . . . while reaching the same result”).

     Second, vacatur of the Permit would cause disruptive

consequences. On this score, Healthy Gulf inaccurately claims that

Driftwood “is not ready to build the project anyway.” Healthy Gulf Brief

71. In fact, Driftwood is actively constructing the LNG facility, a

development that was publicly reported in March 2022.8 Since filing its

brief, Healthy Gulf has acknowledged this fact. See Healthy Gulf

Response to Corps’ Second Motion for Extension of Time to File




8 https://www.bechtel.com/newsroom/releases/2022/03/tellurian-starts-

driftwood-lng-construction/ (Mar. 28, 2022);
https://www.kplctv.com/2022/04/01/driftwood-lng-phase-one-
construction-underway/ (Mar. 31, 2022);
https://www.houstonchronicle.com/business/energy/article/Tellurian-
starts-building-16-8B-Driftwood-LNG-17036431.php (Mar. 29, 2022).

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Responsive Brief (Health Gulf Extension Opposition) at 5-6 & n.2, ECF

No. 516586025 (Dec. 21, 2022). In opposing the Corps’ request for a

second extension of time, Healthy Gulf claimed prejudice from a nine-

day extension because “[a]ctivities are already ongoing at the site,”

including “extensive pile driving” and “poured concrete foundations for

liquefaction equipment.” Id.

     Moreover, the disruptive consequences that would flow from

vacating the Permit could have been avoided or reduced if Healthy Gulf

had diligently exercised its right to seek judicial review. The Corps

issued the Permit to Driftwood in May 2019, but Healthy Gulf waited

until July 2022 to file its petition for review in this Court—a delay of

more than three years. AR6. Healthy Gulf has acknowledged that it

waited to petition for review until “construction was imminent.”

Healthy Gulf Extension Opposition 5 n.1. It would be inequitable to

vacate the Permit, when (1) Driftwood reasonably relied on the

unchallenged Permit for three years while expending substantial funds

on planning, design, permitting, and construction, and (2) Healthy Gulf,

without apparent explanation, delayed suing until Driftwood was about

to begin construction.



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     Vacating the Permit also would be greatly disruptive to the Corps.

The Corps devoted substantial resources over more than two years to

complying with its Clean Water Act and NEPA obligations before

issuing the Permit. Vacatur would require the Corps to redo the

permitting process. Healthy Gulf speculates that vacatur of the Permit

“is unlikely to meaningfully delay Driftwood’s completion.” Healthy

Gulf Brief 74. That suggestion is unsupported and incorrect. Even if the

Corps does not have to start from scratch, vacating the Permit would

require the Corps to go through the Clean Water Act’s permitting

process again. That is unwarranted here because the specific issues that

Healthy Gulf has raised—the LEDPA analysis and mitigation—are

issues on which the Corps can readily provide further explanation that

supports the same decision.

     In summary, vacatur is unjustified and an inequitable remedy. If

there is any prejudicial error, the Corps’ decision should be remanded

for further explanation without vacating the Permit.




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                            CONCLUSION

     For all these reasons, the Court should deny the petition.



                                      Respectfully submitted,

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                                        s/ Justin D. Heminger
                                        JUSTIN D. HEMINGER

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                                        s/ Justin D. Heminger
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     I hereby certify that on January 18, 2023, I electronically filed the

foregoing using the Court’s CM/ECF system, which will notify all

registered counsel.

                                       s/ Justin D. Heminger
                                       JUSTIN D. HEMINGER

                                       Counsel for Respondents




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                                          ADDENDUM

33 C.F.R. § 325.3 ..................................................................................... 2a

33 C.F.R. § 332.3 ..................................................................................... 9a

40 C.F.R. § 230.10 ................................................................................. 27a




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                 Corps’ Clean Water Act Regulations
                   33 C.F.R. § 325.3—Public notice

(a) General. The public notice is the primary method of advising all
    interested parties of the proposed activity for which a permit is
    sought and of soliciting comments and information necessary to
    evaluate the probable impact on the public interest. The notice must,
    therefore, include sufficient information to give a clear
    understanding of the nature and magnitude of the activity to
    generate meaningful comment. The notice should include the
    following items of information:

   (1) Applicable statutory authority or authorities;

   (2) The name and address of the applicant;

   (3) The name or title, address and telephone number of the Corps
       employee from whom additional information concerning the
       application may be obtained;

   (4) The location of the proposed activity;

   (5) A brief description of the proposed activity, its purpose and
       intended use, so as to provide sufficient information concerning
       the nature of the activity to generate meaningful comments,
       including a description of the type of structures, if any, to be
       erected on fills or pile or float-supported platforms, and a
       description of the type, composition, and quantity of materials to
       be discharged or disposed of in the ocean;

   (6) A plan and elevation drawing showing the general and specific
       site location and character of all proposed activities, including
       the size relationship of the proposed structures to the size of the
       impacted waterway and depth of water in the area;

   (7) If the proposed activity would occur in the territorial seas or
       ocean waters, a description of the activity's relationship to the
       baseline from which the territorial sea is measured;


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(8) A list of other government authorizations obtained or requested
    by the applicant, including required certifications relative to
    water quality, coastal zone management, or marine sanctuaries;

(9) If appropriate, a statement that the activity is a categorical
    exclusion for purposes of NEPA (see paragraph 7 of Appendix B
    to 33 CFR part 230);

(10) A statement of the district engineer's current knowledge on
     historic properties;

(11) A statement of the district engineer's current knowledge on
     endangered species (see § 325.2(b)(5));

(12) A statement(s) on evaluation factors (see § 325.3(c));

(13) Any other available information which may assist interested
     parties in evaluating the likely impact of the proposed activity, if
     any, on factors affecting the public interest;

(14) The comment period based on § 325.2(d)(2);

(15) A statement that any person may request, in writing, within the
     comment period specified in the notice, that a public hearing be
     held to consider the application. Requests for public hearings
     shall state, with particularity, the reasons for holding a public
     hearing;

(16) For non-federal applications in states with an approved CZM
     Plan, a statement on compliance with the approved Plan; and

(17) In addition, for section 103 (ocean dumping) activities:

   (i) The specific location of the proposed disposal site and its
       physical boundaries;




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      (ii) A statement as to whether the proposed disposal site has been
           designated for use by the Administrator, EPA, pursuant to
           section 102(c) of the Act;

      (iii) If the proposed disposal site has not been designated by the
           Administrator, EPA, a description of the characteristics of the
           proposed disposal site and an explanation as to why no
           previously designated disposal site is feasible;

      (iv) A brief description of known dredged material discharges at
           the proposed disposal site;

      (v) Existence and documented effects of other authorized
          disposals that have been made in the disposal area (e.g.,
          heavy metal background reading and organic carbon content);

      (vi) An estimate of the length of time during which disposal would
           continue at the proposed site; and

      (vii) Information on the characteristics and composition of the
          dredged material.

(b) Public notice for general permits. District engineers will publish a
    public notice for all proposed regional general permits and for
    significant modifications to, or reissuance of, existing regional
    permits within their area of jurisdiction. Public notices for statewide
    regional permits may be issued jointly by the affected Corps districts.
    The notice will include all applicable information necessary to
    provide a clear understanding of the proposal. In addition, the notice
    will state the availability of information at the district office which
    reveals the Corps' provisional determination that the proposed
    activities comply with the requirements for issuance of general
    permits. District engineers will publish a public notice for nationwide
    permits in accordance with 33 CFR 330.4.




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(c) Evaluation factors. A paragraph describing the various evaluation
    factors on which decisions are based shall be included in every public
    notice.

   (1) Except as provided in paragraph (c)(3) of this section, the
       following will be included:

       “The decision whether to issue a permit will be based on an
       evaluation of the probable impact including cumulative impacts
       of the proposed activity on the public interest. That decision will
       reflect the national concern for both protection and utilization of
       important resources. The benefit which reasonably may be
       expected to accrue from the proposal must be balanced against
       its reasonably foreseeable detriments. All factors which may be
       relevant to the proposal will be considered including the
       cumulative effects thereof; among those are conservation,
       economics, aesthetics, general environmental concerns,
       wetlands, historic properties, fish and wildlife values, flood
       hazards, floodplain values, land use, navigation, shoreline
       erosion and accretion, recreation, water supply and conservation,
       water quality, energy needs, safety, food and fiber production,
       mineral needs, considerations of property ownership and, in
       general, the needs and welfare of the people.”

   (2) If the activity would involve the discharge of dredged or fill
       material into the waters of the United States or the
       transportation of dredged material for the purpose of disposing of
       it in ocean waters, the public notice shall also indicate that the
       evaluation of the impact of the activity on the public interest will
       include application of the guidelines promulgated by the
       Administrator, EPA, (40 CFR part 230) or of the criteria
       established under authority of section 102(a) of the Marine
       Protection, Research and Sanctuaries Act of 1972, as amended
       (40 CFR parts 220 to 229), as appropriate. (See 33 CFR parts 323
       and 324).

   (3) In cases involving construction of artificial islands, installations
       and other devices on outer continental shelf lands which are


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       under mineral lease from the Department of the Interior, the
       notice will contain the following statement: “The decision as to
       whether a permit will be issued will be based on an evaluation of
       the impact of the proposed work on navigation and national
       security.”

(d) Distribution of public notices.

   (1) Public notices will be distributed for posting in post offices or
       other appropriate public places in the vicinity of the site of the
       proposed work and will be sent to the applicant, to appropriate
       city and county officials, to adjoining property owners, to
       appropriate state agencies, to appropriate Indian Tribes or tribal
       representatives, to concerned Federal agencies, to local, regional
       and national shipping and other concerned business and
       conservation organizations, to appropriate River Basin
       Commissions, to appropriate state and areawide clearing houses
       as prescribed by OMB Circular A–95, to local news media and to
       any other interested party. Copies of public notices will be sent
       to all parties who have specifically requested copies of public
       notices, to the U.S. Senators and Representatives for the area
       where the work is to be performed, the field representative of the
       Secretary of the Interior, the Regional Director of the Fish and
       Wildlife Service, the Regional Director of the National Park
       Service, the Regional Administrator of the Environmental
       Protection Agency (EPA), the Regional Director of the National
       Marine Fisheries Service of the National Oceanic and
       Atmospheric Administration (NOAA), the head of the state
       agency responsible for fish and wildlife resources, the State
       Historic Preservation Officer, and the District Commander, U.S.
       Coast Guard.

   (2) In addition to the general distribution of public notices cited
       above, notices will be sent to other addressees in appropriate
       cases as follows:




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   (i) If the activity would involve structures or dredging along the
       shores of the seas or Great Lakes, to the Coastal Engineering
       Research Center, Washington, DC 20016.

   (ii) If the activity would involve construction of fixed structures or
        artificial islands on the outer continental shelf or in the
        territorial seas, to the Assistant Secretary of Defense
        (Manpower, Installations, and Logistics (ASD(MI&L)),
        Washington, DC 20310; the Director, Defense Mapping
        Agency (Hydrographic Center) Washington, DC 20390,
        Attention, Code NS12; and the National Ocean Service, Office
        of Coast Survey, N/CS261, 1315 East West Highway, Silver
        Spring, Maryland 20910–3282, and to affected military
        installations and activities.

   (iii) If the activity involves the construction of structures to
        enhance fish propagation (e.g., fishing reefs) along the coasts
        of the United States, to the Director, Office of Marine
        Recreational Fisheries, National Marine Fisheries Service,
        Washington, DC 20235.

   (iv) If the activity involves the construction of structures which
        may affect aircraft operations or for purposes associated with
        seaplane operations, to the Regional Director of the Federal
        Aviation Administration.

   (v) If the activity would be in connection with a foreign-trade
       zone, to the Executive Secretary, Foreign–Trade Zones Board,
       Department of Commerce, Washington, DC 20230 and to the
       appropriate District Director of Customs as Resident
       Representative, Foreign–Trade Zones Board.

(3) It is presumed that all interested parties and agencies will wish
    to respond to public notices; therefore, a lack of response will be
    interpreted as meaning that there is no objection to the proposed
    project. A copy of the public notice with the list of the addresses to
    whom the notice was sent will be included in the record. If a
    question develops with respect to an activity for which another


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   agency has responsibility and that other agency has not
   responded to the public notice, the district engineer may request
   its comments. Whenever a response to a public notice has been
   received from a member of Congress, either in behalf of a
   constituent or himself, the district engineer will inform the
   member of Congress of the final decision.

(4) District engineers will update public notice mailing lists at least
    once every two years.




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               Corps’ Clean Water Act Regulations
       33 C.F.R. § 332.3—General compensatory mitigation
                          requirements.

(a) General considerations.

   (1) The fundamental objective of compensatory mitigation is to offset
       environmental losses resulting from unavoidable impacts to
       waters of the United States authorized by DA permits. The
       district engineer must determine the compensatory mitigation to
       be required in a DA permit, based on what is practicable and
       capable of compensating for the aquatic resource functions that
       will be lost as a result of the permitted activity. When evaluating
       compensatory mitigation options, the district engineer will
       consider what would be environmentally preferable. In making
       this determination, the district engineer must assess the
       likelihood for ecological success and sustainability, the location of
       the compensation site relative to the impact site and their
       significance within the watershed, and the costs of the
       compensatory mitigation project. In many cases, the
       environmentally preferable compensatory mitigation may be
       provided through mitigation banks or in-lieu fee programs
       because they usually involve consolidating compensatory
       mitigation projects where ecologically appropriate, consolidating
       resources, providing financial planning and scientific expertise
       (which often is not practical for permittee-responsible
       compensatory mitigation projects), reducing temporal losses of
       functions, and reducing uncertainty over project success.
       Compensatory mitigation requirements must be commensurate
       with the amount and type of impact that is associated with a
       particular DA permit. Permit applicants are responsible for
       proposing an appropriate compensatory mitigation option to
       offset unavoidable impacts.

   (2) Compensatory mitigation may be performed using the methods of
       restoration, enhancement, establishment, and in certain
       circumstances preservation. Restoration should generally be the
       first option considered because the likelihood of success is greater


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      and the impacts to potentially ecologically important uplands are
      reduced compared to establishment, and the potential gains in
      terms of aquatic resource functions are greater, compared to
      enhancement and preservation.

   (3) Compensatory mitigation projects may be sited on public or
       private lands. Credits for compensatory mitigation projects on
       public land must be based solely on aquatic resource functions
       provided by the compensatory mitigation project, over and above
       those provided by public programs already planned or in place.
       All compensatory mitigation projects must comply with the
       standards in this part, if they are to be used to provide
       compensatory mitigation for activities authorized by DA permits,
       regardless of whether they are sited on public or private lands
       and whether the sponsor is a governmental or private entity.

(b) Type and location of compensatory mitigation.

   (1) When considering options for successfully providing the required
       compensatory mitigation, the district engineer shall consider the
       type and location options in the order presented in paragraphs
       (b)(2) through (b)(6) of this section. In general, the required
       compensatory mitigation should be located within the same
       watershed as the impact site, and should be located where it is
       most likely to successfully replace lost functions and services,
       taking into account such watershed scale features as aquatic
       habitat diversity, habitat connectivity, relationships to hydrologic
       sources (including the availability of water rights), trends in land
       use, ecological benefits, and compatibility with adjacent land
       uses. When compensating for impacts to marine resources, the
       location of the compensatory mitigation site should be chosen to
       replace lost functions and services within the same marine
       ecological system (e.g., reef complex, littoral drift cell).
       Compensation for impacts to aquatic resources in coastal
       watersheds (watersheds that include a tidal water body) should
       also be located in a coastal watershed where practicable.
       Compensatory mitigation projects should not be located where



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   they will increase risks to aviation by attracting wildlife to areas
   where aircraft-wildlife strikes may occur (e.g., near airports).

(2) Mitigation bank credits. When permitted impacts are located
    within the service area of an approved mitigation bank, and the
    bank has the appropriate number and resource type of credits
    available, the permittee's compensatory mitigation requirements
    may be met by securing those credits from the sponsor. Since an
    approved instrument (including an approved mitigation plan and
    appropriate real estate and financial assurances) for a mitigation
    bank is required to be in place before its credits can begin to be
    used to compensate for authorized impacts, use of a mitigation
    bank can help reduce risk and uncertainty, as well as temporal
    loss of resource functions and services. Mitigation bank credits
    are not released for debiting until specific milestones associated
    with the mitigation bank site's protection and development are
    achieved, thus use of mitigation bank credits can also help reduce
    risk that mitigation will not be fully successful. Mitigation banks
    typically involve larger, more ecologically valuable parcels, and
    more rigorous scientific and technical analysis, planning and
    implementation than permittee-responsible mitigation. Also,
    development of a mitigation bank requires site identification in
    advance, project-specific planning, and significant investment of
    financial resources that is often not practicable for many in-lieu
    fee programs. For these reasons, the district engineer should give
    preference to the use of mitigation bank credits when these
    considerations are applicable. However, these same
    considerations may also be used to override this preference,
    where appropriate, as, for example, where an in-lieu fee program
    has released credits available from a specific approved in-lieu fee
    project, or a permittee-responsible project will restore an
    outstanding resource based on rigorous scientific and technical
    analysis.

(3) In-lieu fee program credits. Where permitted impacts are located
    within the service area of an approved in-lieu fee program, and
    the sponsor has the appropriate number and resource type of
    credits available, the permittee's compensatory mitigation


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   requirements may be met by securing those credits from the
   sponsor. Where permitted impacts are not located in the service
   area of an approved mitigation bank, or the approved mitigation
   bank does not have the appropriate number and resource type of
   credits available to offset those impacts, in-lieu fee mitigation, if
   available, is generally preferable to permittee-responsible
   mitigation. In-lieu fee projects typically involve larger, more
   ecologically valuable parcels, and more rigorous scientific and
   technical analysis, planning and implementation than permittee-
   responsible mitigation. They also devote significant resources to
   identifying and addressing high-priority resource needs on a
   watershed scale, as reflected in their compensation planning
   framework. For these reasons, the district engineer should give
   preference to in-lieu fee program credits over permittee-
   responsible mitigation, where these considerations are applicable.
   However, as with the preference for mitigation bank credits,
   these same considerations may be used to override this
   preference where appropriate. Additionally, in cases where
   permittee-responsible mitigation is likely to successfully meet
   performance standards before advance credits secured from an in-
   lieu fee program are fulfilled, the district engineer should also
   give consideration to this factor in deciding between in-lieu fee
   mitigation and permittee-responsible mitigation.

(4) Permittee-responsible mitigation under a watershed approach.
    Where permitted impacts are not in the service area of an
    approved mitigation bank or in-lieu fee program that has the
    appropriate number and resource type of credits available,
    permittee-responsible mitigation is the only option. Where
    practicable and likely to be successful and sustainable, the
    resource type and location for the required permittee-responsible
    compensatory mitigation should be determined using the
    principles of a watershed approach as outlined in paragraph (c) of
    this section.

(5) Permittee-responsible mitigation through on-site and in-kind
    mitigation. In cases where a watershed approach is not
    practicable, the district engineer should consider opportunities to


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     offset anticipated aquatic resource impacts by requiring on-site
     and in-kind compensatory mitigation. The district engineer must
     also consider the practicability of on-site compensatory mitigation
     and its compatibility with the proposed project.

  (6) Permittee-responsible mitigation through off-site and/or out-of-
      kind mitigation. If, after considering opportunities for on-site, in-
      kind compensatory mitigation as provided in paragraph (b)(5) of
      this section, the district engineer determines that these
      compensatory mitigation opportunities are not practicable, are
      unlikely to compensate for the permitted impacts, or will be
      incompatible with the proposed project, and an alternative,
      practicable off-site and/or out-of-kind mitigation opportunity is
      identified that has a greater likelihood of offsetting the permitted
      impacts or is environmentally preferable to on-site or in-kind
      mitigation, the district engineer should require that this
      alternative compensatory mitigation be provided.

(c) Watershed approach to compensatory mitigation.

  (1) The district engineer must use a watershed approach to establish
      compensatory mitigation requirements in DA permits to the
      extent appropriate and practicable. Where a watershed plan is
      available, the district engineer will determine whether the plan is
      appropriate for use in the watershed approach for compensatory
      mitigation. In cases where the district engineer determines that
      an appropriate watershed plan is available, the watershed
      approach should be based on that plan. Where no such plan is
      available, the watershed approach should be based on
      information provided by the project sponsor or available from
      other sources. The ultimate goal of a watershed approach is to
      maintain and improve the quality and quantity of aquatic
      resources within watersheds through strategic selection of
      compensatory mitigation sites.




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(2) Considerations.

   (i) A watershed approach to compensatory mitigation considers
       the importance of landscape position and resource type of
       compensatory mitigation projects for the sustainability of
       aquatic resource functions within the watershed. Such an
       approach considers how the types and locations of
       compensatory mitigation projects will provide the desired
       aquatic resource functions, and will continue to function over
       time in a changing landscape. It also considers the habitat
       requirements of important species, habitat loss or conversion
       trends, sources of watershed impairment, and current
       development trends, as well as the requirements of other
       regulatory and non-regulatory programs that affect the
       watershed, such as storm water management or habitat
       conservation programs. It includes the protection and
       maintenance of terrestrial resources, such as non-wetland
       riparian areas and uplands, when those resources contribute
       to or improve the overall ecological functioning of aquatic
       resources in the watershed. Compensatory mitigation
       requirements determined through the watershed approach
       should not focus exclusively on specific functions (e.g., water
       quality or habitat for certain species), but should provide,
       where practicable, the suite of functions typically provided by
       the affected aquatic resource.

   (ii) Locational factors (e.g., hydrology, surrounding land use) are
        important to the success of compensatory mitigation for
        impacted habitat functions and may lead to siting of such
        mitigation away from the project area. However,
        consideration should also be given to functions and services
        (e.g., water quality, flood control, shoreline protection) that
        will likely need to be addressed at or near the areas impacted
        by the permitted impacts.

   (iii) A watershed approach may include on-site compensatory
         mitigation, off-site compensatory mitigation (including



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       mitigation banks or in-lieu fee programs), or a combination of
       on-site and off-site compensatory mitigation.

   (iv) A watershed approach to compensatory mitigation should
        include, to the extent practicable, inventories of historic and
        existing aquatic resources, including identification of
        degraded aquatic resources, and identification of immediate
        and long-term aquatic resource needs within watersheds that
        can be met through permittee-responsible mitigation projects,
        mitigation banks, or in-lieu fee programs. Planning efforts
        should identify and prioritize aquatic resource restoration,
        establishment, and enhancement activities, and preservation
        of existing aquatic resources that are important for
        maintaining or improving ecological functions of the
        watershed. The identification and prioritization of resource
        needs should be as specific as possible, to enhance the
        usefulness of the approach in determining compensatory
        mitigation requirements.

   (v) A watershed approach is not appropriate in areas where
       watershed boundaries do not exist, such as marine areas. In
       such cases, an appropriate spatial scale should be used to
       replace lost functions and services within the same ecological
       system (e.g., reef complex, littoral drift cell).

(3) Information Needs.

   (i) In the absence of a watershed plan determined by the district
       engineer under paragraph (c)(1) of this section to be
       appropriate for use in the watershed approach, the district
       engineer will use a watershed approach based on analysis of
       information regarding watershed conditions and needs,
       including potential sites for aquatic resource restoration
       activities and priorities for aquatic resource restoration and
       preservation. Such information includes: current trends in
       habitat loss or conversion; cumulative impacts of past
       development activities, current development trends, the
       presence and needs of sensitive species; site conditions that


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           favor or hinder the success of compensatory mitigation
           projects; and chronic environmental problems such as
           flooding or poor water quality.

      (ii) This information may be available from sources such as
           wetland maps; soil surveys; U.S. Geological Survey
           topographic and hydrologic maps; aerial photographs;
           information on rare, endangered and threatened species and
           critical habitat; local ecological reports or studies; and other
           information sources that could be used to identify locations
           for suitable compensatory mitigation projects in the
           watershed.

      (iii) The level of information and analysis needed to support a
            watershed approach must be commensurate with the scope
            and scale of the proposed impacts requiring a DA permit, as
            well as the functions lost as a result of those impacts.

   (4) Watershed scale. The size of watershed addressed using a
       watershed approach should not be larger than is appropriate to
       ensure that the aquatic resources provided through compensation
       activities will effectively compensate for adverse environmental
       impacts resulting from activities authorized by DA permits. The
       district engineer should consider relevant environmental factors
       and appropriate locally developed standards and criteria when
       determining the appropriate watershed scale in guiding
       compensation activities.

(d) Site selection.

   (1) The compensatory mitigation project site must be ecologically
       suitable for providing the desired aquatic resource functions. In
       determining the ecological suitability of the compensatory
       mitigation project site, the district engineer must consider, to the
       extent practicable, the following factors:

      (i) Hydrological conditions, soil characteristics, and other
          physical and chemical characteristics;


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   (ii) Watershed-scale features, such as aquatic habitat diversity,
        habitat connectivity, and other landscape scale functions;

   (iii) The size and location of the compensatory mitigation site
         relative to hydrologic sources (including the availability of
         water rights) and other ecological features;

   (iv) Compatibility with adjacent land uses and watershed
        management plans;

   (v) Reasonably foreseeable effects the compensatory mitigation
       project will have on ecologically important aquatic or
       terrestrial resources (e.g., shallow sub-tidal habitat, mature
       forests), cultural sites, or habitat for federally- or state-listed
       threatened and endangered species; and

   (vi) Other relevant factors including, but not limited to,
        development trends, anticipated land use changes, habitat
        status and trends, the relative locations of the impact and
        mitigation sites in the stream network, local or regional goals
        for the restoration or protection of particular habitat types or
        functions (e.g., re-establishment of habitat corridors or
        habitat for species of concern), water quality goals, floodplain
        management goals, and the relative potential for chemical
        contamination of the aquatic resources.

(2) District engineers may require on-site, off-site, or a combination
    of on-site and off-site compensatory mitigation to replace
    permitted losses of aquatic resource functions and services.

(3) Applicants should propose compensation sites adjacent to existing
    aquatic resources or where aquatic resources previously existed.




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(e) Mitigation type.

  (1) In general, in-kind mitigation is preferable to out-of-kind
      mitigation because it is most likely to compensate for the
      functions and services lost at the impact site. For example, tidal
      wetland compensatory mitigation projects are most likely to
      compensate for unavoidable impacts to tidal wetlands, while
      perennial stream compensatory mitigation projects are most
      likely to compensate for unavoidable impacts to perennial
      streams. Thus, except as provided in paragraph (e)(2) of this
      section, the required compensatory mitigation shall be of a
      similar type to the affected aquatic resource.

  (2) If the district engineer determines, using the watershed approach
      in accordance with paragraph (c) of this section that out-of-kind
      compensatory mitigation will serve the aquatic resource needs of
      the watershed, the district engineer may authorize the use of
      such out-of-kind compensatory mitigation. The basis for
      authorization of out-of-kind compensatory mitigation must be
      documented in the administrative record for the permit action.

  (3) For difficult-to-replace resources (e.g., bogs, fens, springs,
      streams, Atlantic white cedar swamps) if further avoidance and
      minimization is not practicable, the required compensation
      should be provided, if practicable, through in-kind rehabilitation,
      enhancement, or preservation since there is greater certainty
      that these methods of compensation will successfully offset
      permitted impacts.

(f) Amount of compensatory mitigation.

  (1) If the district engineer determines that compensatory mitigation
      is necessary to offset unavoidable impacts to aquatic resources,
      the amount of required compensatory mitigation must be, to the
      extent practicable, sufficient to replace lost aquatic resource
      functions. In cases where appropriate functional or condition
      assessment methods or other suitable metrics are available, these
      methods should be used where practicable to determine how


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      much compensatory mitigation is required. If a functional or
      condition assessment or other suitable metric is not used, a
      minimum one-to-one acreage or linear foot compensation ratio
      must be used.

   (2) The district engineer must require a mitigation ratio greater than
       one-to-one where necessary to account for the method of
       compensatory mitigation (e.g., preservation), the likelihood of
       success, differences between the functions lost at the impact site
       and the functions expected to be produced by the compensatory
       mitigation project, temporal losses of aquatic resource functions,
       the difficulty of restoring or establishing the desired aquatic
       resource type and functions, and/or the distance between the
       affected aquatic resource and the compensation site. The
       rationale for the required replacement ratio must be documented
       in the administrative record for the permit action.

   (3) If an in-lieu fee program will be used to provide the required
       compensatory mitigation, and the appropriate number and
       resource type of released credits are not available, the district
       engineer must require sufficient compensation to account for the
       risk and uncertainty associated with in-lieu fee projects that have
       not been implemented before the permitted impacts have
       occurred.

(g) Use of mitigation banks and in-lieu fee programs. Mitigation banks
    and in-lieu fee programs may be used to compensate for impacts to
    aquatic resources authorized by general permits and individual
    permits, including after-the-fact permits, in accordance with the
    preference hierarchy in paragraph (b) of this section.




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(h) Preservation.

   (1) Preservation may be used to provide compensatory mitigation for
       activities authorized by DA permits when all the following
       criteria are met:

      (i) The resources to be preserved provide important physical,
          chemical, or biological functions for the watershed;

      (ii) The resources to be preserved contribute significantly to the
            ecological sustainability of the watershed. In determining the
            contribution of those resources to the ecological sustainability
            of the watershed, the district engineer must use appropriate
            quantitative assessment tools, where available;
      (iii) Preservation is determined by the district engineer to be
            appropriate and practicable;

      (iv) The resources are under threat of destruction or adverse
           modifications; and

      (v) The preserved site will be permanently protected through an
          appropriate real estate or other legal instrument (e.g.,
          easement, title transfer to state resource agency or land
          trust).

   (2) Where preservation is used to provide compensatory mitigation,
       to the extent appropriate and practicable the preservation shall
       be done in conjunction with aquatic resource restoration,
       establishment, and/or enhancement activities. This requirement
       may be waived by the district engineer where preservation has
       been identified as a high priority using a watershed approach
       described in paragraph (c) of this section, but compensation ratios
       shall be higher.




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(i) Buffers. District engineers may require the restoration,
    establishment, enhancement, and preservation, as well as the
    maintenance, of riparian areas and/or buffers around aquatic
    resources where necessary to ensure the long-term viability of those
    resources. Buffers may also provide habitat or corridors necessary for
    the ecological functioning of aquatic resources. If buffers are required
    by the district engineer as part of the compensatory mitigation
    project, compensatory mitigation credit will be provided for those
    buffers.

(j) Relationship to other federal, tribal, state, and local programs.

   (1) Compensatory mitigation projects for DA permits may also be
       used to satisfy the environmental requirements of other
       programs, such as tribal, state, or local wetlands regulatory
       programs, other federal programs such as the Surface Mining
       Control and Reclamation Act, Corps civil works projects, and
       Department of Defense military construction projects, consistent
       with the terms and requirements of these programs and subject
       to the following considerations:

       (i) The compensatory mitigation project must include
           appropriate compensation required by the DA permit for
           unavoidable impacts to aquatic resources authorized by that
           permit.

       (ii) Under no circumstances may the same credits be used to
            provide mitigation for more than one permitted activity.
            However, where appropriate, compensatory mitigation
            projects, including mitigation banks and in-lieu fee projects,
            may be designed to holistically address requirements under
            multiple programs and authorities for the same activity.

   (2) Except for projects undertaken by federal agencies, or where
       federal funding is specifically authorized to provide compensatory
       mitigation, federally-funded aquatic resource restoration or
       conservation projects undertaken for purposes other than
       compensatory mitigation, such as the Wetlands Reserve Program,


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      Conservation Reserve Program, and Partners for Wildlife
      Program activities, cannot be used for the purpose of generating
      compensatory mitigation credits for activities authorized by DA
      permits. However, compensatory mitigation credits may be
      generated by activities undertaken in conjunction with, but
      supplemental to, such programs in order to maximize the overall
      ecological benefits of the restoration or conservation project.

   (3) Compensatory mitigation projects may also be used to provide
       compensatory mitigation under the Endangered Species Act or for
       Habitat Conservation Plans, as long as they comply with the
       requirements of paragraph (j)(1) of this section.

(k) Permit conditions.

   (1) The compensatory mitigation requirements for a DA permit,
       including the amount and type of compensatory mitigation, must
       be clearly stated in the special conditions of the individual permit
       or general permit verification (see 33 CFR 325.4 and 330.6(a)).
       The special conditions must be enforceable.

   (2) For an individual permit that requires permittee-responsible
       mitigation, the special conditions must:

      (i) Identify the party responsible for providing the compensatory
          mitigation;

      (ii) Incorporate, by reference, the final mitigation plan approved
           by the district engineer;

      (iii) State the objectives, performance standards, and monitoring
            required for the compensatory mitigation project, unless they
            are provided in the approved final mitigation plan; and

      (iv) Describe any required financial assurances or long-term
           management provisions for the compensatory mitigation
           project, unless they are specified in the approved final
           mitigation plan.


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   (3) For a general permit activity that requires permittee-responsible
       compensatory mitigation, the special conditions must describe the
       compensatory mitigation proposal, which may be either
       conceptual or detailed. The general permit verification must also
       include a special condition that states that the permittee cannot
       commence work in waters of the United States until the district
       engineer approves the final mitigation plan, unless the district
       engineer determines that such a special condition is not
       practicable and not necessary to ensure timely completion of the
       required compensatory mitigation. To the extent appropriate and
       practicable, special conditions of the general permit verification
       should also address the requirements of paragraph (k)(2) of this
       section.

   (4) If a mitigation bank or in-lieu fee program is used to provide the
       required compensatory mitigation, the special conditions must
       indicate whether a mitigation bank or in-lieu fee program will be
       used, and specify the number and resource type of credits the
       permittee is required to secure. In the case of an individual
       permit, the special condition must also identify the specific
       mitigation bank or in-lieu fee program that will be used. For
       general permit verifications, the special conditions may either
       identify the specific mitigation bank or in-lieu fee program, or
       state that the specific mitigation bank or in-lieu fee program used
       to provide the required compensatory mitigation must be
       approved by the district engineer before the credits are secured.

(l) Party responsible for compensatory mitigation.

   (1) For permittee-responsible mitigation, the special conditions of the
       DA permit must clearly indicate the party or parties responsible
       for the implementation, performance, and long-term management
       of the compensatory mitigation project.

   (2) For mitigation banks and in-lieu fee programs, the instrument
       must clearly indicate the party or parties responsible for the
       implementation, performance, and long-term management of the


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      compensatory mitigation project(s). The instrument must also
      contain a provision expressing the sponsor's agreement to assume
      responsibility for a permittee's compensatory mitigation
      requirements, once that permittee has secured the appropriate
      number and resource type of credits from the sponsor and the
      district engineer has received the documentation described in
      paragraph (l)(3) of this section.

   (3) If use of a mitigation bank or in-lieu fee program is approved by
       the district engineer to provide part or all of the required
       compensatory mitigation for a DA permit, the permittee retains
       responsibility for providing the compensatory mitigation until the
       appropriate number and resource type of credits have been
       secured from a sponsor and the district engineer has received
       documentation that confirms that the sponsor has accepted the
       responsibility for providing the required compensatory
       mitigation. This documentation may consist of a letter or form
       signed by the sponsor, with the permit number and a statement
       indicating the number and resource type of credits that have been
       secured from the sponsor. Copies of this documentation will be
       retained in the administrative records for both the permit and the
       instrument. If the sponsor fails to provide the required
       compensatory mitigation, the district engineer may pursue
       measures against the sponsor to ensure compliance.

(m) Timing. Implementation of the compensatory mitigation project
    shall be, to the maximum extent practicable, in advance of or
    concurrent with the activity causing the authorized impacts. The
    district engineer shall require, to the extent appropriate and
    practicable, additional compensatory mitigation to offset temporal
    losses of aquatic functions that will result from the permitted
    activity.

(n) Financial assurances.

   (1) The district engineer shall require sufficient financial assurances
       to ensure a high level of confidence that the compensatory
       mitigation project will be successfully completed, in accordance


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   with applicable performance standards. In cases where an
   alternate mechanism is available to ensure a high level of
   confidence that the compensatory mitigation will be provided and
   maintained (e.g., a formal, documented commitment from a
   government agency or public authority) the district engineer may
   determine that financial assurances are not necessary for that
   compensatory mitigation project.

(2) The amount of the required financial assurances must be
    determined by the district engineer, in consultation with the
    project sponsor, and must be based on the size and complexity of
    the compensatory mitigation project, the degree of completion of
    the project at the time of project approval, the likelihood of
    success, the past performance of the project sponsor, and any
    other factors the district engineer deems appropriate. Financial
    assurances may be in the form of performance bonds, escrow
    accounts, casualty insurance, letters of credit, legislative
    appropriations for government sponsored projects, or other
    appropriate instruments, subject to the approval of the district
    engineer. The rationale for determining the amount of the
    required financial assurances must be documented in the
    administrative record for either the DA permit or the instrument.
    In determining the assurance amount, the district engineer shall
    consider the cost of providing replacement mitigation, including
    costs for land acquisition, planning and engineering, legal fees,
    mobilization, construction, and monitoring.

(3) If financial assurances are required, the DA permit must include
    a special condition requiring the financial assurances to be in
    place prior to commencing the permitted activity.

(4) Financial assurances shall be phased out once the compensatory
    mitigation project has been determined by the district engineer to
    be successful in accordance with its performance standards. The
    DA permit or instrument must clearly specify the conditions
    under which the financial assurances are to be released to the
    permittee, sponsor, and/or other financial assurance provider,
    including, as appropriate, linkage to achievement of performance


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      standards, adaptive management, or compliance with special
      conditions.

   (5) A financial assurance must be in a form that ensures that the
       district engineer will receive notification at least 120 days in
       advance of any termination or revocation. For third-party
       assurance providers, this may take the form of a contractual
       requirement for the assurance provider to notify the district
       engineer at least 120 days before the assurance is revoked or
       terminated.

   (6) Financial assurances shall be payable at the direction of the
       district engineer to his designee or to a standby trust agreement.
       When a standby trust is used (e.g., with performance bonds or
       letters of credit) all amounts paid by the financial assurance
       provider shall be deposited directly into the standby trust fund
       for distribution by the trustee in accordance with the district
       engineer's instructions.

(o) Compliance with applicable law. The compensatory mitigation
    project must comply with all applicable federal, state, and local laws.
    The DA permit, mitigation banking instrument, or in-lieu fee
    program instrument must not require participation by the Corps or
    any other federal agency in project management, including receipt or
    management of financial assurances or long-term financing
    mechanisms, except as determined by the Corps or other agency to
    be consistent with its statutory authority, mission, and priorities.




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                Clean Water Act 404(b)(1) Guidelines
            40 C.F.R. § 230.10---Restrictions on discharge.

Note: Because other laws may apply to particular discharges and
because the Corps of Engineers or State 404 agency may have
additional procedural and substantive requirements, a discharge
complying with the requirement of these Guidelines will not
automatically receive a permit.

Although all requirements in § 230.10 must be met, the compliance
evaluation procedures will vary to reflect the seriousness of the
potential for adverse impacts on the aquatic ecosystems posed by
specific dredged or fill material discharge activities.

(a) Except as provided under section 404(b)(2), no discharge of dredged
    or fill material shall be permitted if there is a practicable alternative
    to the proposed discharge which would have less adverse impact on
    the aquatic ecosystem, so long as the alternative does not have other
    significant adverse environmental consequences.

   (1) For the purpose of this requirement, practicable alternatives
       include, but are not limited to:

      (i) Activities which do not involve a discharge of dredged or fill
          material into the waters of the United States or ocean waters;

      (ii) Discharges of dredged or fill material at other locations in
           waters of the United States or ocean waters;

   (2) An alternative is practicable if it is available and capable of
       being done after taking into consideration cost, existing
       technology, and logistics in light of overall project purposes. If it
       is otherwise a practicable alternative, an area not presently
       owned by the applicant which could reasonably be obtained,
       utilized, expanded or managed in order to fulfill the basic
       purpose of the proposed activity may be considered.




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   (3) Where the activity associated with a discharge which is proposed
       for a special aquatic site (as defined in subpart E) does not
       require access or proximity to or siting within the special aquatic
       site in question to fulfill its basic purpose (i.e., is not “water
       dependent”), practicable alternatives that do not involve special
       aquatic sites are presumed to be available, unless clearly
       demonstrated otherwise. In addition, where a discharge is
       proposed for a special aquatic site, all practicable alternatives to
       the proposed discharge which do not involve a discharge into a
       special aquatic site are presumed to have less adverse impact on
       the aquatic ecosystem, unless clearly demonstrated otherwise.

   (4) For actions subject to NEPA, where the Corps of Engineers is the
       permitting agency, the analysis of alternatives required for
       NEPA environmental documents, including supplemental Corps
       NEPA documents, will in most cases provide the information for
       the evaluation of alternatives under these Guidelines. On
       occasion, these NEPA documents may address a broader range of
       alternatives than required to be considered under this paragraph
       or may not have considered the alternatives in sufficient detail to
       respond to the requirements of these Guidelines. In the latter
       case, it may be necessary to supplement these NEPA documents
       with this additional information.

   (5) To the extent that practicable alternatives have been identified
       and evaluated under a Coastal Zone Management program, a
       section 208 program, or other planning process, such evaluation
       shall be considered by the permitting authority as part of the
       consideration of alternatives under the Guidelines. Where such
       evaluation is less complete than that contemplated under this
       subsection, it must be supplemented accordingly.

(b) No discharge of dredged or fill material shall be permitted if it:

   (1) Causes or contributes, after consideration of disposal site
       dilution and dispersion, to violations of any applicable State
       water quality standard;



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   (2) Violates any applicable toxic effluent standard or prohibition
       under section 307 of the Act;

   (3) Jeopardizes the continued existence of species listed as
       endangered or threatened under the Endangered Species Act of
       1973, as amended, or results in likelihood of the destruction or
       adverse modification of a habitat which is determined by the
       Secretary of Interior or Commerce, as appropriate, to be a
       critical habitat under the Endangered Species Act of 1973, as
       amended. If an exemption has been granted by the Endangered
       Species Committee, the terms of such exemption shall apply in
       lieu of this subparagraph;

   (4) Violates any requirement imposed by the Secretary of Commerce
       to protect any marine sanctuary designated under title III of the
       Marine Protection, Research, and Sanctuaries Act of 1972.

(c) Except as provided under section 404(b)(2), no discharge of dredged
    or fill material shall be permitted which will cause or contribute to
    significant degradation of the waters of the United States. Findings
    of significant degradation related to the proposed discharge shall be
    based upon appropriate factual determinations, evaluations, and
    tests required by subparts B and G, after consideration of subparts C
    through F, with special emphasis on the persistence and permanence
    of the effects outlined in those subparts. Under these Guidelines,
    effects contributing to significant degradation considered
    individually or collectively, include:

   (1) Significantly adverse effects of the discharge of pollutants on
       human health or welfare, including but not limited to effects on
       municipal water supplies, plankton, fish, shellfish, wildlife, and
       special aquatic sites;

   (2) Significantly adverse effects of the discharge of pollutants on life
       stages of aquatic life and other wildlife dependent on aquatic
       ecosystems, including the transfer, concentration, and spread of
       pollutants or their byproducts outside of the disposal site
       through biological, physical, and chemical processes;


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  (3) Significantly adverse effects of the discharge of pollutants on
      aquatic ecosystem diversity, productivity, and stability. Such
      effects may include, but are not limited to, loss of fish and
      wildlife habitat or loss of the capacity of a wetland to assimilate
      nutrients, purify water, or reduce wave energy; or

  (4) Significantly adverse effects of discharge of pollutants on
      recreational, aesthetic, and economic values.

(d) Except as provided under section 404(b)(2), no discharge of dredged
    or fill material shall be permitted unless appropriate and practicable
    steps have been taken which will minimize potential adverse
    impacts of the discharge on the aquatic ecosystem. Subpart H
    identifies such possible steps.




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